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                 Centers for Disease Control and Prevention

NATIONAL CENTER FOR CHRONIC DISEASE PREVENTION AND HEALTH
                       PROMOTION

Community Health Workers for COVID Response and Resilient Communities (CCR)

                           CDC-RFA-DP21-2109

                                05/24/2021
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 Part I. Overview
Applicants must go to the synopsis page of this announcement at www.grants.gov and click on
the "Subscribe" button link to ensure they receive notifications of any changes to CDC-RFA-
DP21-2109. Applicants also must provide an e-mail address to www.grants.gov to receive
notifications of changes.
A. Federal Agency Name:
Centers for Disease Control and Prevention (CDC)
B. Notice of Funding Opportunity (NOFO) Title:
Community Health Workers for COVID Response and Resilient Communities (CCR)
C. Announcement Type: New - Type 1:
This announcement is only for non-research activities supported by CDC. If research is
proposed, the application will not be considered. For this purpose, research is defined
at https://www.gpo.gov/fdsys/pkg/CFR-2007-title42-vol1/pdf/CFR-2007-title42-vol1-sec52-
2.pdf. Guidance on how CDC interprets the definition of research in the context of public health
can be found at https://www.hhs.gov/ohrp/regulations-and-policy/regulations/45-cfr-
46/index.html (See section 45 CFR 46.102(d)).
D. Agency Notice of Funding Opportunity Number:
CDC-RFA-DP21-2109
E. Assistance Listings Number:
93.495
F. Dates:
1. Due Date for Letter of Intent (LOI):
03/25/2021
Not Applicable
LOI is not required or requested.

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2. Due Date for Applications:
05/24/2021
11:59 p.m. U.S. Eastern Standard Time, at www.grants.gov.
3. Due Date for Informational Conference Call:
Date: March 31, 2021

Time: 3:30 pm - 4:30 pm U.S. Eastern Standard Time

Conference Number: 800-369-3192

Participant Code: 5479788

Join via Computer: https://adobeconnect.cdc.gov/r0er4qejjemc/

Potential applicants may also submit questions via email at: nccdphp_chw@cdc.gov

The following website will contain pre-and post-conference call information, including questions
and answers submitted by potential applicants: Community Health Workers for Covid Response
and Resilient Communities | CDC
F. Executive Summary:
Summary Paragraph
The Coronavirus Aid, Relief, and Economic Security (“CARES”) Act of 2020 allocated funds to
the Centers for Disease Control and Prevention (CDC) to states, localities, territories, tribes,
tribal organizations, urban Indian health organizations, or health service providers to tribes. CDC
announces the availability of funds to achieve the goal of the CARES Act in preventing COVID-
19 and protecting the American people from related public health impacts. This Notice of
Funding Opportunity (NOFO) supports this work through training and deployment of
community health workers (CHWs) to response efforts and by building and strengthening
community resilience to fight COVID-19 through addressing existing health disparities.

Program strategies include integrating CHWs into organizations and care teams and
strengthening relevant CHW knowledge, roles, and skills to prepare them to successfully engage
with existing state and/or local public health-led actions to manage COVID-19 among priority
populations. Priority populations are those with increased prevalence of COVID-19 and are
disproportionately impacted by long-standing health disparities related to sociodemographic
characteristics, geographic regions, and economic strata. Examples include, racial and ethnic
minority groups, persons who are economically disadvantaged, justice-involved, experiencing
homelessness, or have certain underlying medical conditions that increase COVID-19 risk.
a. Eligible Applicants:
Open Competition
b. NOFO Type:
G (Grant)
c. Approximate Number of Awards


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70
d. Total Period of Performance Funding:
$ 300,000,000
e. Average One Year Award Amount:
$ 1,000,000
Over a three-year period of performance, CDC will award approximately $100 million each
budget year for three years with the average award varying. These grants will range
approximately from $350,000 - $3 million per year depending on the size and scope of activity.
The range of funds is broad to accommodate a varied number of organizations based on capacity
and a range of catchment areas whose resource needs will vary. Approximate average one-year
award amounts for each component are:

Component A (Capacity Building): $600K
Component B (Implementation Ready): $2M
Component C (Innovation – demonstration projects): $2M
f. Total Period of Performance Length:
3
g. Estimated Award Date:
August 01, 2021
h. Cost Sharing and / or Matching Requirements:
No
 Part II. Full Text
 A. Funding Opportunity Description
 1. Background
a. Overview
The novel Coronavirus Disease 2019 (COVID-19) has impacted communities nation-wide,
including all states, localities, and territorial jurisdictions. Public health crises, such as COVID-
19, exacerbate existing health disparities and inequities in the social determinants of health
(SDOH), conditions in which people are born, live, learn, work, play, worship, and
age. Black/African Americans, Hispanics/Latinos, and American Indian/Alaska Native
populations have higher rates of unemployment; are more likely to work in essential, low-income
positions that do not allow telework; live in communities with higher rates of environmental
hazards; and do not have health insurance or paid sick leave through employers. Racial and
ethnic minority groups, economically disadvantaged persons, justice-involved, people
experiencing homelessness, and people who use drugs and/or have certain underlying medical
conditions are also at risk. All of these factors increase risk of exposure to COVID-19, while
limiting ability to stay home or access care when sick. Racial and ethnic minority groups also
experience higher incidence of severe heart disease, diabetes, obesity, and smoking, all shown to
increase the risk of severe illness from COVID-19. Furthermore, distrust of medical and
governmental entities and longstanding disparities in vaccine coverage may impact achievement
of high COVID-19 vaccination rates, once vaccines are widely available in these population
groups.

Along with CDC’s strategies for ending the COVID-19 pandemic, focused investments are

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needed to decrease disparities among the populations outlined above. Initiatives that promote
health equity in all policies and reduce inequities should be pursued and evaluated for effective
and targeted systems’ changes across relevant sectors. Overwhelming evidence demonstrates that
health is highly influenced by SDOHs such as intergenerational wealth, high quality education,
stable and fulfilling employment opportunities, affordable housing, access to healthful foods,
commercial tobacco-free policies, and safe green spaces for physical activity. Through
partnerships around community health assessment and planning efforts, federal, state, local,
tribal, and territorial governments have invested in long-range policy and environmental change
plans to improve SDOHs in communities with the poorest health outcomes.

CHWs are well-positioned to reach communities, especially those disproportionately impacted
by COVID-19. CHW interventions can improve uptake and access to health care services,
improve communication between community members and health providers, reduce the need for
emergency and specialty services, and improve adherence to health recommendations. While
CHW administered interventions have a demonstrated impact, barriers to increased intervention
implementation exist (e.g. insufficient numbers of trained individuals to meet existing needs;
lack of funding/reimbursement; poor integration of CHWs in multidisciplinary care teams, in the
health care delivery system, or in community organizations addressing the social determinants of
health; and limited communication technology).

CHWs can improve access to COVID-19 related services (e.g. testing, contact tracing, health
behavior education) and management of other underlying medical conditions that increase risk of
severe COVID-19 illness and adverse outcomes. Through this initiative, CDC can highlight the
integral role of CHWs in increasing resiliency, and response efforts in the hardest hit
communities across the nation, especially during emergency crises by supporting
three components in this NOFO: Component A focuses on building capacity for CHW efforts;
Component B focuses on enhancing and expanding existing CHW efforts; and Component C
focuses on developing innovative approaches to strengthening the use of CHWs.
b. Statutory Authorities
This program is authorized under the Coronavirus Aid, Relief, and Economic Security Act
(“CARES Act”), Public Law 116-136 and under the Public Health Service Act 42 U.S.C.
301(a).
c. Healthy People 2030
This funding opportunity focuses on COVID-19 response and community resilience addressing
Healthy People 2030 goals including emergency
preparedness: https://health.gov/healthypeople/objectives-and-data/browse-
objectives/emergency-preparedness and vaccination: https://health.gov/healthypeople/objectives-
and-data/browse-objectives/vaccnation.

For further information, please see https://health.gov/healthypeople/objectives-and-data/browse-
objectives.
d. Other National Public Health Priorities and Strategies
The COVID-19 pandemic requires a coordinated public health response; recipients should
consider the following in their proposed work:


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       Topics (e.g. social determinants of health) related to health conditions associated with
        increased risk of COVID-19 illness and poorer outcomes.
        https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
        medical-conditions.html
       Centers for Disease Control and Prevention (2020). Community Preventive Services Task
        Force. The Community Guide. Retrieved from The Guide to Community Preventive
        Services (The Community Guide).
       Health Resources and Services Administration (2020). Coronavirus-Related
        Supplemental Funding Allowable Uses Technical Assistance Resource.
        https://bphc.hrsa.gov/emergency-response/coronavirus-info/supplemental-funding-uses
e. Relevant Work
This NOFO will leverage previous work funded by the CDC with various public and private
partners to implement and evaluate the effectiveness of different approaches for building the
public health infrastructure to respond to COVID-19, particularly:
       Centers for Disease Control and Prevention (2020). Public Health Crisis Response
        NOFO. https://www.cdc.gov/cpr/readiness/funding-covid.htm
       Centers for Disease Control and Prevention (2020). CDC COVID-19 Funding for Tribes.
        https://www.cdc.gov/tribal/cooperative-agreements/covid-
        19.html?deliveryName=USCDC_289-DM25904
       Centers for Disease Control and Prevention (2020). COVID-19 Financial Resources.
        Retrieved from Financial Resources | CDC.
2. CDC Project Description
a. Approach
Bold indicates period of performance outcome.
CDC-RFA-DP21-2109: Community Health Workers for COVID Response and Resilient
Communities (CCR) NOFO Logic Model

Scale up Community Health Worker (CHW) actions across the nation to support COVID-19
response efforts in those communities hit hardest by COVID-19 and among populations that are
at high risk for COVID-19 exposure, infection, and outcomes (priority populations).



   CDC-RFA-DP21-2109: Community Health Workers for COVID Response and Resilient
                     Communities (CCR) NOFO Logic Model
 Proposed High Level                     Proposed Outcomes
 Strategies
                             Short Term                 Intermediate       Long Term:>Year 3
                             Outcomes: Year 1           Outcomes:
                                                        Year 2




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Train Community          Increased               Increased         Decreased impact of
Health Workers to        skills/capacity/roles   reach of          COVID-19 on those
ensure comprehensive     of CHWs to              CHW-              at risk (priority
acquisition and          provide services        influenced        populations) and
reinforcement of         and support for         mitigation        settings.
relevant knowledge,      COVID-19 public         efforts
roles, and skills to     health response         among
support the COVID-       efforts among           priority          Increased
19 public health         priority                populations       community
response to manage       populations within      within            resilience to respond
outbreaks and            communities.            communities.      to COVID-19 and
community spread.                                                  future public health
                                                                   emergencies.
Deploy Community         Increased               Continued
Health to Support        workforce of            promotion
                                                                      IMPACT
the COVID-19             CHWs delivering         and
Public Health            services to manage      integration of
                                                                         ↓
Response to manage       the spread of           CHWs into
outbreaks and spread     COVID-19.               existing
                                                                   Decreased health
of COVID-19 among                                workforce
                                                                   disparities
priority populations                             among
within communities.                              priority
                                                                         ↓
                                                 populations
                                                 within
                                                                   Increased health
                                                 communities.
                                                                   equity

Engage Community         Increased               Increased
Health Workers to        utilization of          provision of
Help Build and           community               community
Strengthen               resources and           resources and
Community                clinical services for   clinical
Resilience to mitigate   those at highest        services to
the impact of COVID-     risk for poor health    those at
19 by improving the      outcomes among          highest risk
overall health of        priority                for poor
priority populations     populations within      health
within communities.      communities.            outcomes
                                                 among
                                                 priority
                                                 populations
                                                 within
                                                 communities.




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i. Purpose
This new grant will address 1) disparities in access to COVID-19 related services, e.g., testing,
contact tracing, immunization services etc., and 2) health outcomes and factors that increase risk
of severe COVID-19 illness (e.g., chronic diseases, smoking, pregnancy) and poorer outcomes
(e.g. health and mental health care access, access to healthy food, health insurance, etc.) which
have been exacerbated by COVID-19 by scaling up and sustaining a nation-wide program of
CHWs who will support COVID-19 response and prevention in populations at high risk and
communities hit hardest by COVID-19.

ii. Outcomes
Applicants are expected to focus on those outcomes that align with the three high-level strategy
categories, i.e. Train, Deploy, and Engage.
Short term outcomes:
       TRAIN: Increased skills/capacity/roles of CHWs to provide services and support for
        COVID-19 public health response efforts among priority populations within
        communities.
       DEPLOY: Increased workforce of CHWs delivering services to manage the spread of
        COVID-19.
       ENGAGE: Increased utilization of community resources and clinical services for those
        at highest risk for poor health outcomes among priority populations within communities.
iii. Strategies and Activities
COMPONENT A: CAPACITY BUILDING
Applicants applying for Component A funding must address the four required strategies
identified in bold and also select one additional strategy from the menu of strategies targeting
Capacity Building efforts.
TRAIN:
       Strategy CB1 (Required): Identify and collaborate with community-wide efforts to
        ensure comprehensive acquisition of relevant knowledge, roles, and skills by CHWs
        so they are prepared to successfully engage with existing state and/or local public

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        health-led actions to manage COVID-19 among priority populations within
        communities.
       Strategy CB2: Align training opportunities for CHWs with the primary actions of state
        and/or local public health led efforts to address the underlying conditions and/or
        environments that increase the risk and severity of COVID-19 infections among priority
        populations within communities.

DEPLOY:
       Strategy CB3 (Required): Integrate CHWs into organizations and care teams to
        support the public health response to COVID-19 among priority populations within
        communities.
       Strategy CB4: Develop and disseminate messaging that educates organizations and care
        teams on the critical role CHWs play in delivering services and managing the spread of
        COVID-19 among priority populations within communities.

ENGAGE:
       Strategy CB5 (Required): Coordinate and/or promote opportunities, such as
        messaging/education, within communities and clinical settings to facilitate the
        engagement of CHWs in addressing the needs of those at highest risk for poor
        health outcomes, including those resulting from COVID-19.
       Strategy CB6 (Required) Year 1 : Initiate and develop and/or utilize systems to
        document engagement of CHWs in the care, support, and follow-up across clinical
        and community settings of priority populations at highest risk for poor health
        outcomes, including those resulting from COVID-19. (Required) Year 2: Facilitate
        engagement of CHWs in the care, support, and follow-up across clinical and
        community settings of priority populations at highest risk for poor health outcomes,
        including those resulting from COVID-19.
       Strategy CB7: Establish and strengthen partnerships between CHWs and State Medicaid
        agencies, relevant state or local coalitions, initiatives, professional organizations,
        providers, and health systems that provide resources and support for deploying CHWs to
        engage with priority populations at highest risk for poor health outcomes, including those
        resulting from COVID-19 by addressing social determinants of health (e.g. those with
        underlying health conditions, with decreased access to care or lacking access to routine
        and usual care, challenges with having social needs met, food insecurity, housing
        insecurity and homelessness, etc.)

COMPONENT B: IMPLEMENTATION READY
Applicants applying for Component B funding must address the four required strategies
identified in bold and also select two additional strategies from the menu of strategies targeting
Implementation Ready efforts.

TRAIN:


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       Strategy IR1 (Required): Identify and collaborate with community-wide efforts to
        ensure comprehensive acquisition of relevant knowledge, roles, and skills by CHWs
        so they are prepared to successfully engage with existing state and/or local public
        health-led actions to manage COVID-19 among priority populations within
        communities.
       Strategy IR2: Ensure appropriate training opportunities to disseminate messaging for
        CHWs focused on reaching those with underlying conditions and/or environments that
        increase the risk and severity of COVID-19 infections among priority populations in
        order to strengthen infrastructure critical to identification of infection, appropriate follow-
        up, including contact tracing, and treatment among priority populations within
        communities.
       Strategy IR3: Align training opportunities for CHWs with the primary actions of state
        and/or local public health led efforts to address the underlying conditions and/or
        environments that increase the risk and severity of COVID-19 infections among priority
        populations within communities.

DEPLOY:
       Strategy IR4 (Required): Integrate CHWs into organizations and care teams to
        support the public health response to COVID-19 among priority populations within
        communities.
       Strategy IR5: Integrate CHWs into public health emergency preparedness and vaccine
        deployment planning, e.g. inclusion in planning and coordination with Immunization and
        Public Health Preparedness Programs; existing vaccine infrastructure; and vaccine
        providers in the community to increase access to new and existing vaccination programs
        in priority populations within communities.

ENGAGE:
       Strategy IR6 (Required): Coordinate and/or promote opportunities, such as
        messaging/education within communities and clinical settings to facilitate the
        engagement of CHWs in addressing the needs of those at highest risk for poor
        health outcomes, including those resulting from COVID-19.
       Strategy IR7 (Required): Facilitate engagement of CHWs in the care, support, and
        follow-up across clinical and community settings of priority populations at highest
        risk for poor health outcomes, including those resulting from COVID-19.


COMPONENT C: INNOVATION - DEMONSTRATION PROJECTS

The demonstration project should identify an approach that employs policy, systems or
environmental changes, is innovative and will train, deploy, and engage CHWs to further address
health disparities and social inequities exacerbated by COVID-19 within the catchment area
identified in the recipient’s Component B application. The demonstration projects should each
uniquely focus on improving selected conditions of the socioecological
environment (e.g., community interventions intending to reduce toxic and chronic stress,
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strategies that enhance community resilience; strategies that address reimbursement or other
sustainable funding; strategies that increase income, housing and/or food security and support
recovery from other unintended negative consequences of COVID-19 mitigation
strategies; engaging employers in identifying and adopting policies that protect worker health
and safety; engaging owners/overseers of multi-unit housing to identify and adopt policies that
protect worker and tenant health from COVID-19 and conditions that increase COVID-19
risk). This is an opportunity to demonstrate how CHWs can incorporate interventions addressing
social determinants of health, and be an integral part of innovative approaches, such as
technology, payment models, communication campaigns, new ways to link to social services
and/or provide “wrap-around” services, or other services that will improve health outcomes
among those at greatest risk for severe COVID-19 disease.

Requirements for the demonstration project include the following:
       The demonstration project must address at least 1 of the 3 overarching strategies of the
        NOFO: train, deploy, and/or engage;
           o This proposed project must be distinctly different from what the applicants is
              proposing in Component B; it is not meant to be an expansion of a Component B
              effort. It is an opportunity to test an innovative approach that accelerates impact to
              ameliorate effects of COVID-19 through the use of CHWs and builds more
              resilient communities.
       CHWs must be an integral part of the demonstration project;
       The project must be implemented in communities or populations at risk for poor health
        outcomes as a result of COVID-19 that the applicant has identified for Component B.
       The demonstration project must be aligned with the outcome(s) as described in the logic
        model.
       The demonstration project must include a rigorous evaluation to assess the project’s
        impact, outcomes, and effectiveness and develop recommendations for
        sustainability. The applicant should plan to initiate evaluation in Year 1, continue data
        collection in Year 2, and complete and submit all data to CDC immediately upon
        completion of Year 3.
Performance measures related to Train, Deploy, and Engagement efforts for Component C and
the impact on COVID-19 may be proposed by recipients based on activities conducted and
finalized in collaboration with CDC and Evaluation/Technical Assistance partners, awarded
through a separate NOFO. Performance measures will be reported annually, and CDC and
Evaluation/Technical Assistance partners will manage and analyze the data to identify recipient
program improvements, respond to broader technical assistance needs, and report to
stakeholders.
 1. Collaborations
a. With other CDC programs and CDC-funded organizations:
Required Collaborations:
Recipients are required to collaborate with other CDC-funded programs that are currently
implementing activities to mitigate the spread of COVID-19 infection in their respective
communities and address certain underlying medical conditions that increase risk of exposure to

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COVID-19. These collaborations are especially essential for implementing both the training and
deployment strategies of this NOFO; applicants must include letters of support to document
these collaborations. Letters must be dated within 45 days of the application due date. These
letters must state the role of organizations and specify how they will help the applicant achieve
the goals and outcomes of the NOFO. Applicants must file the letter of support, as appropriate,
name the file “CHW_LOS_Applicant Name”, and upload it as a PDF file at
www.grants.gov. This will ensure that proposed activities are complementary with other CDC
funded programs operating in the same area and avoid duplication of efforts. State- and/or local-
level CDC funded programs to advance efforts to mitigate the spread of COVID-19 infection
include:
       Epidemiology and Laboratory Capacity Program:
        https://www.cdc.gov/ncezid/dpei/epidemiology-laboratory-capacity.html
       State (and jurisdictional) Immunization Program: https://www.cdc.gov/vaccines/imz-
        managers/awardee-imz-websites.html
       Supporting Tribal Public Health Capacity in Coronavirus Preparedness and Response
        Program: https://www.cdc.gov/tribal/documents/cooperative-agreements/COVID-19-
        Funding-for-Tribes-Grant-Recipients-OT20-2004-508.pdf
       Tribal Public Health Capacity Building and Quality Improvement Program:
        https://www.cdc.gov/tribal/cooperative-agreements/tribal-capacity-building-OT18-
        1803.html
       Cooperative Agreement for Emergency Response: Public Health Crisis Response and
        COVID-19 Crisis Response Cooperative Agreement Components A and B Supplemental
        Funding Program: https://www.cdc.gov/cpr/readiness/funding-covid.htm
       Racial and Ethnic Approaches to Community Health (REACH) Flu Vaccine Supplement.
        DP18-1813. https://www.cdc.gov/nccdphp/dnpao/state-local-
        programs/reach/current_programs/index.html.
Encouraged Collaborations:
Recipients are also highly encouraged to collaborate with other CDC-funded programs that focus
on population health approaches to reduce health disparities and address the social determinants
of health that contribute to them such as injury prevention, mental health promotion, sexually
transmitted disease and chronic disease prevention. These collaborations are especially essential
for implementing the strengthening community resilience strategies of this NOFO. This will
ensure proposed activities are complementary with other CDC-funded programs operating in the
same area and avoid duplication of efforts.
b. With organizations not funded by CDC:
Required Collaborations:
       Recipients are required to appropriately align their work with other national, state or
        nongovernmental programs that support CHWs to promote healthy communities
        including State Medicaid agencies.
       Recipients are also required to collaborate, through formalized partnerships, supported by
        detail specific service agreements, with medical (e.g., Community Health Centers
        (CHCs), private providers, health insurers and health systems) and essential support
        service providers to maximize reach, increase coordination and collaboration, and support

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        the provision of essential services in respective communities. These collaborations are
        essential for the successful implementation of all three NOFO strategies.
       Letters of support with a firm commitment from partners should be included in the
        application. Applicants should submit letters of support from organizations that will have
        a role in helping to achieve the NOFO activities and outcomes. Letters must be dated
        within 45 days of the application due date. These letters must state the role of
        organizations and specify how they will help the applicant achieve the goals and
        outcomes of the NOFO. Applicants must file the letter of support, as appropriate, name
        the file “CHW_LOS_Applicant Name”, and upload it as a PDF file at www.grants.gov.

Community Coalition
The recipients are required to either establish a new or expand an existing community coalition
to serve as a formal arrangement for cooperation and collaboration among stakeholder groups to
work together to achieve the short-term, intermediate, and long-term outcomes of this NOFO.
Applicants should describe the proposed or existing coalition within the project narrative.
Recipients will collaborate with the coalition to develop and carry out the program action plan to
train and deploy CHWs to support the COVID-19 public health response as well as to build and
strengthen resilience to mitigate the impact of COVID-19 by improving the overall health of
priority populations in key communities.

The community coalition proposed by the recipient should have diverse and multi-sector
representation and, at a minimum, should include the:
       Recipient
       Community Health Worker Network Representation
       Healthcare organization representative (who provides services for the priority population)
       Local public health department representation
       Community representation

The community coalition should:
       Demonstrate ability to leverage partnerships across settings and sectors to address key
        contributors to health disparities within their community (e.g., social determinants of
        health)
       Meaningfully engage and incorporate input from those who represent the proposed
        priority population(s)
       Use Community Based Participatory Approaches (http://ctb.ku.edu/en/table-of-contents
        /analyze/where-to-start/participatory-approaches/main) in their planning approach
       Reflect the composition of the proposed priority population
       Demonstrate a history of success in working together with partners on issues relating to
        health or other disparities.
       Demonstrate effectiveness and progress in mobilizing partners to assist in implementation
        of local evidence-based or practice-based improvements that are culturally tailored to the
        priority population(s)

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Encouraged Collaborations:
Recipients are also encouraged to establish strategic partnerships with the following types of
organizations: state- and jurisdictional-recipients of other relevant Federal programs (e.g., the
Health Resources and Services Administration’s State Office of Rural Health programs or
Maternal and Child Health Bureau, the Centers for Medicare and Medicaid Services, and State-
Medicaid Offices) and their recipients; local public health departments (for state recipients);
local health insurers; American Indian/Alaska Native tribal governments and/or tribally
designated organizations; non-CDC funded Community Based Organizations; faith-based
organizations; local chambers of commerce or large employers, community advocates and other
stakeholders with vested interests in reducing health disparities and the social determinants of
health that contribute to them.
2. Target Populations
Applicants must identify and focus on populations with increased risk for or prevalence of
COVID-19 or who are at increased risk for poor health outcomes from COVID-19 because they
are also disproportionately impacted by long-standing health disparities as described in the
Executive Summary and Background sections of this announcement. Applicants must
demonstrate that the proposed catchment area(s) reflect a) the burden of COVID-19 infection
rates and/or COVID-19 mortality rates and b) populations disproportionally affected by COVID-
19 infections; particularly those affected by poverty. Catchment areas are defined in this NOFO
as a county, metropolitan statistical area(s) or a group of contiguous counties. These catchment
areas must have significant COVID-19 disease burden, evidence of disproportionate health
disparities as evidenced by poverty rates, and sufficient combined populations to allow the
strategies supported by this NOFO to reach significant numbers of people (see components
below for information on population size). Applicants must describe the population selected,
including relevant health disparities, and how the selected interventions will improve health and
contribute to a more resilient community better able to address threats such as COVID-19.

Applicants must use the following two resources to document a) poverty rates and b) COVID-19
cases and/or mortality rates:
       Poverty rates may be found at
        https://www.census.gov/library/visualizations/interactive/2014-2018-poverty-rate-by-
        county.html.
       COVID-19 cases and/or deaths (county level) can be found at
        https://covid.cdc.gov/covid-data-tracker/#county-view. The two COVID-related data
        points that can be used are:
            o 7 Day total reported cases per 100,000 population
            o 7 Day total reported deaths per 100,000 population
Applicants should include the time period for the 7 day total for cases and/or deaths from the
CDC COVID Data Tracker. Additional guidance on the two COVID-related data points can be
found at: Community Health Workers for Covid Response and Resilient Communities | CDC
Applicants addressing racial and ethnic populations should address the inclusion of
subpopulations within the identified target population that can benefit from the program
strategies listed in this announcement. These subpopulations can include groups such as older

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people, people with low socioeconomic status, ethnic minorities, economically disadvantaged
persons, justice-involved , people experiencing homelessness, or those who traditionally do not
access health care on a routine basis such as people with mental health or substance abuse
disorders, non-English speaking populations, Lesbian, Gay, Bisexual, and Transgender (LGBT)
populations, persons with disabilities, or other populations who may otherwise be missed by the
program. In addition, applicants will be expected to provide specific activities to address the
underlying health and social inequities that put many of these subpopulations at increased risk of
getting sick, having more severe illness and dying from COVID-19 and other communicable and
non-communicable conditions.
a. Health Disparities
CDC recognizes that social and economic opportunities, health behavior, and the physical
environment in which people live greatly impact health outcomes. Health disparities represent
preventable differences in the burden of disease, disability, injury or violence, or in opportunities
to achieve optimal health. Applicants must describe the population(s) selected, including relevant
health disparities, and how selected interventions will improve health and reduce or eliminate
one or more identified health disparities. This announcement provides the opportunity to
incorporate interventions to address health-related social needs, (e.g., housing instability and
poor quality, food insecurity, insufficient utility resources, interpersonal violence, insufficient
transportation, and inadequate educational resources) for the priority populations described in the
background section. This is an opportunity to demonstrate how increased awareness of available
community services, navigation assistance to access services, and partner alignment to ensure
that available services support community needs can positively impact health in these
communities; which should all be addressed in the proposed activities.

iv. Funding Strategy
Applicants must demonstrate that the proposed catchment area(s) reflect a) the disproportionate
burden of COVID-19 infection rates/COVID-19 mortality rates and b) populations
disproportionally affected by COVID-19 infections; particularly those affected by
poverty. Catchment areas are defined in this NOFO as a county, metropolitan statistical area(s),
or a group of contiguous counties. These catchment areas must have significant COVID-19
disease burden, evidence of disproportionate health disparities as evidenced by poverty rates, and
sufficient combined populations to allow the strategies supported by this NOFO to reach
significant numbers of people.
Applicants must use the following two resources to document a) poverty rates and b) COVID-19
cases and/or mortality rates:
       Poverty rates may be found at
        https://www.census.gov/library/visualizations/interactive/2014-2018-poverty-rate-by-
        county.html.
       COVID-19 cases and/or deaths (county level) can be found at
        https://covid.cdc.gov/covid-data-tracker/#county-view. The two COVID-related data
        points that can be used are:
            o 7 Day total reported cases per 100,000 population
            o 7 Day total reported deaths per 100,000 population


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Applicants should include the time period for the 7 day total for cases and/or deaths from the
CDC COVID Data Tracker. Additional guidance on the two COVID-related data points can be
found at: Community Health Workers for Covid Response and Resilient Communities | CDC

Component A focuses on organizations that have some experience with CHWs and want to build
capacity by expanding training and oversight plans that will lead to the increased deployment of
CHWs which will result in improved health outcomes. These organizations must have
approximately one year of experience in implementing a CHW program in their catchment
area. The experiences of this program may have been limited in scope, i.e., focusing on a single
or a few disease concerns, providing advice and guidance to direct community members to
appropriate clinical services. We expect to fund approximately 35 applicants. Applications for
this component will reflect services addressing a catchment area, as defined in this NOFO, as a
county, metropolitan statistical area(s), or a group of counties:
       up to 50,000 population, applicants may apply for up to $350K.
       For 50,000 to 200,000 population, applicants may apply for up to $600K.
       For 200,000+ population, applicants may apply for up to $1M.

Component B focuses on expanding deployment of CHWs in organizations with substantial
(approximately 3 years) experience currently utilizing CHWs that want to amplify activities to
address COVID-19 within communities resulting in improved health outcomes; we expect to
fund approximately 35 applicants. Applications for this component will reflect services
addressing a catchment area, as defined in this NOFO, as a county, metropolitan statistical
area(s), or a group of counties:
       up to 200,000 population, applicants may apply for up to $1M.
       For 200,000 to 600,000 population, applicants may apply for up to $2M
       For 600,000+ population, applicants may apply for up to $3M.

Component C focuses on policy, systems or environmental changes, is innovative and will train,
deploy, and engage CHWs to further address health disparities and social inequities exacerbated
by COVID-19 within the catchment area identified in the recipient’s Component B application.
Only applicants that are approved and funded for Component B will be considered for
Component C funding. We expect to fund approximately 5 recipients for Component C for up to
$2M each.
b. Evaluation and Performance Measurement
i. CDC Evaluation and Performance Measurement Strategy
Evaluation and performance measurement help demonstrate program accomplishments and
strengthen the evidence for strategy implementation. CDC, in collaboration with identified
Evaluation and Technical Assistance (TA) partners, will work individually and collectively with
recipients to track the implementation of recipient strategies and activities and assess progress in
achieving NOFO outcomes within the three-year period of performance. Both process and
outcome evaluation will seek to answer the following questions:


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Approach:
    1. To what extent has the recipient’s implementation approach resulted in achieving the
    desired outcomes?
Effectiveness:
    1. To what extent has the recipient increased the reach of Component A and B strategies to
    prevent and control COVID-19 infections and strengthen community resilience?
    2. To what extent has implementation of Category A and B strategies led to improved health
    outcomes among the identified priority population(s)?
Recipients must collaborate with CDC and Evaluation/Technical Assistance partners and are
strongly encouraged to submit at least two success stories per year with impacts using the
NCCDPHP Success Stories Application. Information on this application is located in the
Resources section of this document. CDC and Evaluation/Technical Assistance (TA) partners
will implement an evaluation approach that consists of (1) ongoing monitoring and evaluation of
progress through the collection and reporting of performance measures by recipients, (2) a CDC-
and Evaluation/TA partner-led comprehensive evaluation, and (3) recipient-led evaluations, with
support from CDC and Evaluation/TA partners, as appropriate.

Performance measures developed for this NOFO correspond to the high-level broad strategy
categories and outcomes described in the logic model. All measures are broadly stated and may
be refined with recipients, CDC, and Evaluation/TA partners, based on activities proposed and
recipient needs. CDC and the Evaluation/TA partners, as appropriate, will work with recipients
on operationalizing and further defining each performance measure and guidance will be
provided prior to the first year of expected recipient reporting.

Performance measures will be reported semi-annually by all recipients to CDC and the
Evaluation/TA partners, who will also manage and analyze the data to identify recipient program
improvements, respond to broader technical assistance needs, and to report to stakeholders. CDC
and the Evaluation/TA partners will analyze recipient submitted performance measure data and
develop aggregate performance measure reports to be disseminated to recipients and other key
stakeholders, including federal partners, non-funded partners, and policy makers, as appropriate.
These aggregate findings may also be presented during site visits and recipient meetings. In
addition to performance measures reported by recipients, CDC will track all outcome measures
(not listed in required recipient table for reporting) that are relevant to the program through
national data sets or the comprehensive evaluation activities. As part of the comprehensive
evaluation activities, a subset of NOFO recipients will be selected who will be required to work
collaboratively with CDC and the Evaluation/TA partners to report more in-depth narratives of
activities over the course of the NOFO.

For the CDC- and Evaluation/TA partner-led comprehensive evaluation activities, CDC will lead
the design, data collection, analysis, and reporting. Recipients will be expected to participate in
evaluation activities such as surveys, interviews, case studies, and other data collection efforts to
ensure there is a robust evaluation of the evidence-driven, community tailored/adapted efforts of
the role CHWs play in leading, supporting, and collaborating with a wide variety of stakeholders

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to improve the health of the community. An appropriate level of guidance and support, including
one on one outreach, small peer-to-peer learning and sharing opportunities, webinars, learning
collaboratives, electronic resources, and virtual engagements to showcase successes and
brainstorm the resolution of potential challenges will be provided to the recipients. These
connections among recipients, CDC and the Evaluation/TA partners are critical to the
programmatic success and effective and meaningful evaluation of this grant. CDC and the
Evaluation/TA partners will use finding from these evaluation efforts to refine technical
assistance and, in turn, maximize and sustain program outcomes.

For recipient-led evaluations, CDC and Evaluation/TA partners will be available to work closely,
where appropriate, with recipients to develop, refine, and implement evaluation plans that they
can use to make program improvements and demonstrate the outcomes and impact of their
programs.

CDC, Evaluation/TA partners, and recipients will only collect data that will be analyzed and
used. CDC will provide recipients with performance measure reporting templates, and
potentially evaluation plan and reporting templates. CDC and Evaluation/TA partners will
provide ongoing TA on program implementation efforts, recipient-led evaluation, and recipient
performance measure reporting. Evaluation TA will be provided using a customized approach to
ensure that the tools and services provided best meet the needs of the recipients. All evaluation
findings produced by CDC, the Evaluation TA providers, and recipients will contribute to: (1)
program and quality improvement of program efforts; (2) practice-based evidence; (3)
documentation and sharing of lessons learned to support replication and scaling up of these
program strategies and/or (4) future funding opportunities to expand upon these successes.

The data CDC collects for performance measurement and evaluation are directly related to the
implementation of the strategy and/or the desired outcome indicated in the logic model. Data
being collected are strictly related to the implementation of the NOFO strategies and shall be
used for assessing and reporting progress and for other pertinent implementation improvement
actions. All performance measure data will be collected via secure data systems. Recipients will
report their performance measure data semi-annually via the data system and will have access to
their data only. Over the 3-year performance period, data will be secured with limited access to
authorized CDC program and evaluation staff. CDC will publish summative reports on
individual and aggregate performance measure data.

Applications involving public health data collection or generation must include a Data
Management Plan (DMP) as part of their evaluation and performance measurement plan unless
CDC has stated that CDC will take on the responsibility of creating the DMP. The DMP
describes plans for the applicant’s assurance of the quality of the public health data through the
data’s lifecycle and any plans to deposit data in a repository to preserve and to make the data
accessible in a timely manner. See web link for additional information:
https://www.cdc.gov/grants/additionalrequirements/ar-25.html

Short-term measures reported by recipients are described in the table below. Recipients will
report one level of measures:



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       short-term outcomes measures for each required strategy and for each additional strategy
        selected
The tables below align with the logic model and shows the alignment among the overarching
high level strategy categories, i.e. TRAIN, DEPLOY, and ENGAGE, along with the specific
strategies, outcomes, and performance measures for Component A and Component B.

Table 1. Component A: Capacity Building -- Strategies, Outcomes, and Performance
Measures
 Community Health Workers for COVID-19 Response and Resilient Communities (CCR)

   Table 1. Component A: Capacity Building -- Strategies, Outcomes, and Performance
                                      Measures

                                                 Short-term         Short-term
                                                 Outcomes           Measures (Recipients will
                                                                    report short-term measures
Strategies (Component A Applicants are                              aligned with all required
required to address the four strategies                             strategies in BOLD and
indicated in BOLD and must also                                     the one additional strategy
select one additional strategy from any of the                      selected.)
two areas (train/deploy) in the menu of
strategies targeting capacity building (CB)                         Note: All measures are
efforts within this table.                                          broadly stated and will be
                                                                    refined with recipients and
                                                                    CDC based on activities
                                                                    proposed.

                                            TRAIN

                                           Increased             Measure (Required): # of
                                           skills/capacity/roles CHWs successfully
                                           of CHWs to            completing state/local
Strategy CB1 (Required): Identify and
                                           provide services      public health-led
collaborate with community-wide efforts to
                                           and support for       COVID-19 response
ensure comprehensive acquisition of
                                           COVID-19 public training efforts as
relevant knowledge, roles, and skills by
                                           health response       determined by relevant
CHWs so they are prepared to successfully
                                           efforts among         public health-led entities,
engage with existing state and/or local
                                           priority              e.g., skills related to
public health-led actions to manage
                                           populations*          contact tracing,
COVID-19 among priority populations*
                                           within                appropriate use and care
within communities.
                                           communities.          of PPE, and sufficient
                                                                 documentation of
                                                                 relevant data collection
                                                                 efforts.

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                                               Increased             Measure: # and type of
                                               skills/capacity/roles health conditions and/or
                                               of CHWs to provide social service needs for
                                               services and support which CHWs are provided
                                               for COVID-19          training and/or certification
                                               public health         to deliver among priority
                                               response efforts      populations* within
Strategy CB2: Align training opportunities
                                               among priority        communities, e.g. Lifestyle
for CHWs with the primary actions of state
                                               populations* within interventions and
and/or local public health led efforts to
                                               communities.          strategies, hypertension
address the underlying conditions and/or
                                                                     management, diabetes
environments that increase the risk and
                                                                     management, arthritis
severity of COVID-19 infections among
                                                                     management, improving
priority populations* within communities.
                                                                     physical activity,
                                                                     improving healthy eating,
                                                                     tracking, referral, and
                                                                     connection of individuals
                                                                     to available social services
                                                                     to address identified needs.


                                          DEPLOY

                                        Increased          Measure (Required): #
Strategy CB3 (Required): Integrate CHWs workforce of       and type of
into organizations and care teams to    CHWs delivering organizations/entities
support the public health response to   services to manage that are integrating
COVID19 among priority populations*     the spread of      CHWs to support
within communities.                     COVID-19.          state/local public health-
                                                           led COVID-19 response
                                                           efforts.
Strategy CB4: Develop and disseminate          Increased workforce Measure: # and type of
messaging that educates organizations and      of CHWs delivering messages developed and
care teams on the critical role CHWs play in   services to manage disseminated
delivering services and managing the spread    the spread of
of COVID-19 among priority populations*        COVID-19.
within communities.


                                          ENGAGE

Strategy CB5 (Required): Coordinate            Increased             Measure (Required): # of
and/or promote opportunities, such as          utilization of        individuals within
messaging/education, within communities        community             communities and/or

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and clinical settings to facilitate the        resources and         clinical settings reached
engagement of CHWs in addressing the           clinical services for through messaging and
needs of those at highest risk for poor        those at highest      education, including
health outcomes, including those resulting     risk for poor health those at highest risk for
from COVID-19.                                 outcomes among        poor health outcomes,
                                               priority              including those resulting
                                               populations*          from COVID-19, among
                                               within                priority populations*
                                               communities.          within communities.
                                             Increased             Measure (required): # of
                                             utilization of        patients referred for
                                             community             individual, specific
Strategy CB6 (Required): Year 1: Initiate resources and            named health and social
and develop and/or utilize systems to        clinical services for conditions that increase
document engagement of CHWs in the           those at highest      the risk for COVID-19
care, support, and follow-up across clinical risk for poor health for patients at highest
and community settings of priority           outcomes among        risk for poor health
populations* at highest risk for poor health priority              outcomes, within clinical
outcomes, including those resulting from populations*              and/or community
COVID19.                                     within                settings. Document
Year 2: (Required): Facilitate engagement communities.             referrals for any of the
of CHWs in the care, support, and follow-                          following specific named
up across clinical and community settings                          conditions: housing and
of priority populations* at highest risk for                       shelter; food; healthcare;
poor health outcomes, including those                              mental health and
resulting from COVID-19.                                           addictions; employment
                                                                   and income; clothing and
                                                                   household; childcare and
                                                                   parenting; government
                                                                   and legal.
Strategy CB7: Establish and strengthen          Increased utilization Measure: # and type of
partnerships between CHWs and State             of community          partnerships established
Medicaid agencies, relevant state or local      resources and         with traditional and
coalitions, initiatives,                        clinical services for nontraditional partners,
professional organizations, providers, and      those at highest risk such as, faith-based
health systems that provide resources and       for poor health       organizations, businesses,
support for deploying CHWs to engage with outcomes among              hospital systems, housing
priority populations* at highest risk for poor priority populations* and community
health outcomes, including those resulting      within communities. development entities, and
from COVID-19 by addressing social                                    others for the purposes of
determinants of health (e.g. those with                               providing support for those
underlying health conditions, with decreased                          at highest risk for poor
access to care or lacking access to routine and                       health outcomes, including
usual care, challenges with having social                             those resulting from
needs met, food insecurity, housing                                   COVID-19, among priority


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insecurity, and homelessness, etc).                                populations* within
                                                                   communities.
* Priority populations are those with increased prevalence of COVID-19 and are
disproportionately impacted by long-standing health disparities related to sociodemographic
characteristics, geographic regions, and economic strata. Examples include, racial and ethnic
minorities, persons who are economically disadvantaged, justice-involved, experiencing
homelessness, and/or have certain underlying medical conditions that increase COVID-19 risk



Table 2. Component B: Implementation Ready -- Strategies, Outcomes, and Performance
Measures
 Community Health Workers for COVID-19 Response and Resilient Communities (CCR)

 Table 2. Component B: Implementation Ready--Strategies, Outcomes, and Performance
                                    Measures

Strategies (Component B Applicants Short-term       Short-term Measures (Recipients will
are required to address the four       Outcomes     report short-term measures aligned with
strategies indicated in BOLD and                    all required strategies in BOLD and the
must also select two additional                     two additional strategies selected).
strategies from any of the two areas
(train/deploy) in the menu of                       Note: All measures are broadly stated
strategies targeting Implementation                 and will be refined with recipients and
Ready (IR) efforts within this table).              CDC based on activities proposed.

                                           TRAIN

                                  Increased      Measure (Required): # of CHWs
                                  utilization of successfully completing state/local
                                  community public health-led COVID19 response
Strategy IR1 (Required): Identify
                                  resources      training efforts as determined by
and collaborate with community-
                                  and clinical relevant public health-led entities, e.g.
wide efforts to ensure
                                  services for skills related to contact tracing,
comprehensive acquisition of
                                  those at       appropriate use and care of PPE, and
relevant knowledge, roles, and
                                  highest risk sufficient documentation of relevant
skills by CHWs so they are
                                  for poor       data collection efforts.
prepared to successfully engage
                                  health
with existing state and/or local
                                  outcomes
public health-led actions to
                                  among
manage COVID-19 among priority
                                  priority
populations* within communities.
                                  populations*
                                  within
                                  communities.

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                                          Increased      Measure: # of individuals within specific
Strategy IR2: Ensure appropriate          utilization of media distribution areas, inside stated
training opportunities to disseminate community          catchment areas that have been reached by
messaging for CHWs focused on             resources and critical messaging, as determined by
reaching those with underlying            clinical       relevant public health-led entities, to
conditions and/or environments that services for identification of infection, appropriate
increase the risk and severity of         those at       follow-up, including contact tracing, and
COVID-19 infections among priority highest risk treatment.
populations in order to strengthen        for poor
infrastructure critical to identification health
of infection, appropriate follow-up, outcomes
including contact tracing, and            among
treatment among priority                  priority
populations* within communities.          populations*
                                          within
                                          communities.
                                      Increased
                                      utilization of
                                                     Measure: # and type of health conditions
                                      community
                                                     and/or social service needs for which
                                      resources and
Strategy IR3: Align training                         CHWs are provided training and/or
                                      clinical
opportunities for CHWs with the                      certification to deliver among priority
                                      services for
primary actions of state and/or local                populations* within communities, e.g.
                                      those at
public health led efforts to address                 Lifestyle interventions and strategies,
                                      highest risk
the underlying conditions and/or                     hypertension management, diabetes
                                      for poor
environments that increase the risk                  management, arthritis management,
                                      health
and severity of COVID-19 infections                  improving physical activity, improving
                                      outcomes
among priority populations* within                   healthy eating, tracking, referral, and
                                      among
communities.                                         connection of individuals to available
                                      priority
                                                     social services to address identified needs.
                                      populations*
                                      within
                                      communities.

                                           DEPLOY

                                   Increased    Measure (Required): # and type of
Strategy IR4 (Required): Integrate
                                   workforce of organizations/entities that are
CHWs into Organizations and
                                   CHWs         integrating CHWs to support state/local
Care Teams to support the public
                                   delivering   public health-led COVID-19 response
health response to COVID-19
                                   services to  efforts.
among priority populations*
                                   manage the
within communities.
                                   spread of
                                   COVID-19.
Strategy IR5: Integrate CHWs into     Increased    Measure: # and types of vaccine
public health emergency               workforce of deployment plans in which CHWs are

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preparedness and vaccine               CHWs          included in the planning and design;
deployment planning, e.g. inclusion    delivering    deployment of plan components; ethical
in planning and coordination with      services to   distribution of initial COVID-19 vaccine
Immunization and Public Health         manage the    supplies to vaccine providers in
Preparedness Programs; existing        spread of     accordance with state, local, and federal
vaccine infrastructure; and vaccine    COVID-19.     regulations; and/or dissemination
providers in the community to                        to identified individuals/populations.
increase access to new and existing
vaccination programs in priority
populations* within communities.


                                           ENGAGE

                                       Increased      Measure (Required): # of individuals
                                       utilization of within communities and/or clinical
                                       community settings reached through messaging and
Strategy IR6 (Required):
                                       resources      education, including those at highest
Coordinate and/or promote
                                       and clinical risk for poor health outcomes, including
opportunities, such as
                                       services for those resulting from COVID-19, among
messaging/education, within
                                       those at       priority populations* within
communities and clinical settings
                                       highest risk communities.
to facilitate the engagement of
                                       for poor
CHWs in addressing the needs of
                                       health
those at highest risk for poor
                                       outcomes
health outcomes, including those
                                       among
resulting from COVID-19.
                                       priority
                                       populations*
                                       within
                                       communities.
                                     Increased      Measure (required): # of patients
                                     utilization of referred for individual, specific named
                                     community health and social conditions that
                                     resources      increase the risk for COVID-19 for
Strategy IR7. (Required):
                                     and clinical patients at highest risk for poor health
Facilitate engagement of CHWs in
                                     services for outcomes, within clinical and/or
the care, support, and follow-up
                                     those at       community settings. Document
across clinical and community
                                     highest risk referrals for any of the following
settings of priority populations* at
                                     for poor       specific named conditions: housing and
highest risk for poor health
                                     health         shelter; food; healthcare; mental health
outcomes, including those resulting
                                     outcomes       and addictions; employment and
from COVID-19.
                                     among          income; clothing and household;
                                     priority       childcare and parenting; government
                                     populations* and legal.


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                                        within
                                        communities.
* Priority populations are those with increased prevalence of COVID-19 and are
disproportionately impacted by long-standing health disparities related to sociodemographic
characteristics, geographic regions, and economic strata. Examples include, racial and ethnic
minorities, persons who are economically disadvantaged, justice-involved, experiencing
homelessness, and/or have certain underlying medical conditions that increase COVID-19 risk.


ii. Applicant Evaluation and Performance Measurement Plan
Applicants must provide an evaluation and performance measurement plan that demonstrates
how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
Measurement and Project Description sections of this NOFO. At a minimum, the plan must
describe:
       How the applicant will collect the performance measures, respond to the evaluation
        questions, and use evaluation findings for continuous program quality improvement.
       How key program partners will participate in the evaluation and performance
        measurement planning processes.
       Available data sources, feasibility of collecting appropriate evaluation and performance
        data, and other relevant data information (e.g., performance measures proposed by the
        applicant)
       Plans for updating the Data Management Plan (DMP) as new pertinent information
        becomes available. If applicable, throughout the lifecycle of the project. Updates to
        DMP should be provided in annual progress reports. The DMP should provide a
        description of the data that will be produced using these NOFO funds; access to data;
        data standards ensuring released data have documentation describing methods of
        collection, what the data represent, and data limitations; and archival and long-term data
        preservation plans. For more information about CDC’s policy on the DMP,
        see https://www.cdc.gov/grants/additionalrequirements/ar-25.html.
Where the applicant chooses to, or is expected to, take on specific evaluation studies, the
applicant should be directed to:
       Describe the type of evaluations (i.e., process, outcome, or both).
       Describe key evaluation questions to be addressed by these evaluations.
       Describe other information (e.g., measures, data sources).
Recipients will be required to submit a more detailed Evaluation and Performance Measurement
plan, including a DMP, if applicable, within the first 6 months of award, as described in the
Reporting Section of this NOFO.
With support from CDC, recipients will be required to submit a more detailed Evaluation and
Performance Measurement Plan, including a Data Management Plan (DMP), within the first 6
months of receiving the award, as described in the Reporting Section of this NOFO. CDC will
review and approve the recipient’s monitoring and evaluation plan to ensure that it is appropriate
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for the activities to be undertaken as part of the agreement and for compliance with the
monitoring and evaluation guidance established by CDC or other guidance otherwise applicable
to this cooperative agreement. CDC recommends that at least 10% of total annual funds be
allocated for evaluation, per Best Practices for Comprehensive Tobacco Control Programs.

Applicants are required to submit a plan for Performance Measurement Data Collection and
Use. A detailed plan for Performance Measurement Data Collection and Use will be due within
6 months of receiving the award. CDC will provide additional templates and guidance for
developing the Performance Measurement Data Collection and Use plan. Any anticipated issue
with data collection should be highlighted in the plan, along with options to remedy it.
Additionally, the plan should address how the information generated by the performance
measures will be used for program improvement by the recipient.
c. Organizational Capacity of Recipients to Implement the Approach
Core Capacity for All Applicants
Upon receipt of award all recipients must be able to implement this program in the state, locality,
territory or tribal area in which they operate and are located. To ensure that recipients are able to
execute CDC program requirements and meet period of performance outcomes, applicants must:
describe relevant experience to implement the activities and achieve the project outcomes,
describe experience and capacity to implement the evaluation plan, provide a staffing plan with
clearly defined staff roles (including contractual staff if applicable) and resumes of key staff, and
ensure a project management structure sufficient to achieve the project outcomes. This
information must be described in the project narrative. Applicants must name the staffing plan
file "Component [A, B or C] Staffing Plan" and upload to www.grants.gov. Applicants must
name the resumes "Component [A, B or C] Resumes" and upload to www.grants.gov.

Key capacity requirements include:
       Leadership and management to plan and supervise the project and improve outcomes.
       Readiness and ability to begin implementation and data collection within 1 month of
        award.
       Budget management and administration capacity to establish financial procedures and
        track, monitor, and report expenditures.
       Contract management to manage the required procurement efforts, including the ability to
        write, award, and monitor contracts.
       Data management to design collection and evaluation strategies to produce useful data
        that demonstrate impact, program improvement, and sustainability
       Partnership development and coordination to leverage resources and maximize the reach
        and impact of CHW interventions within the state, locality, territory, or tribal area.
       Evaluation and performance monitoring to implement the evaluation plan and maintain
        programmatic quality, consistency, and fidelity.
       Knowledge and awareness of CDC-funded programs or other federally funded programs,
        that support the ongoing COVID-19 response in the jurisdiction they are proposing to
        serve and how they plan to work and align their activities with the program. These
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        programs, must include, at a minimum, the CDC Epidemiology, Lab and Capacity (ELC)
        cooperative agreement, the Public Health Emergency Preparedness (PHEP) cooperative
        agreement and the Emergency Response: Public Health Crisis Response cooperative
        agreement.
       Experience convening and/or supporting a community coalition to achieve program
        goals.
       For the engage community resilience to COVID-19 strategy, applicants must describe in
        the project narrative their expertise and credibility working with CDC or other federal
        programs supporting this work (e.g., National Diabetes Prevention Program, Prescription
        Drug Overdose Program, Wisewoman). The work proposed should align with these
        already funded projects.
       Applicants for Component A must have approximately one year of experience in
        implementing a CHW program in their catchment area. The experiences of this program
        may have been limited in scope, i.e., focusing on a single or few disease concerns,
        providing advice and guidance to direct community members to appropriate clinical
        services.


Components B: Enhanced Organizational Capacity Requirements for Implementation
Ready (IR).
       Applicants for Component B must have approximately three years of experience in
        implementing a CHW program in their catchment area. The experiences of this program,
        however, have been broad in scope and provided appropriate education and assistance to
        community members from CHWs for a wide variety of concerns, including health and
        social services. Component B applicants must describe their history and experience in a)
        engaging CHWs to identify and enroll eligible community members in applicable health
        and social service programs, b) engaging CHWs to coordinate health care by providing
        appropriate referral and follow-up services, c) engaging CHWs to act as an advocate for
        those community members needing language assistance or support with health systems
        and d) working with health care payers in the public and private health systems to
        incorporate CHWs into teams of care professionals. Component B applicants must
        describe their quality assurance program, and the results of their ongoing evaluation or
        quality improvement efforts to identify priority needs and the actions they have taken to
        meet those needs, as well as evidence of documented improvement in the health status of
        the community served.
       Established expertise and credible working relationships with health care
        organizations/systems documented by letters of support, interagency agreements, or
        MOUs. These could include: federally qualified health centers, private health care
        provider systems, Accountable Care Organizations, hospitals. Applicants must name
        these files "Component [A, B or C] [Letters of Support, Interagency Agreements,
        MOUs]" and upload to www.grants.gov.
       Technical and technological infrastructure to support rapid recruitment, selection, hiring,
        training and deployment of CHWs for the work of this grant.

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       Readiness and ability to begin implementation and data collection within 1 month of
        award.
       Description of having met any state, NGO or other CHW certification requirements as
        appropriate.
       Existing training infrastructure that is multimodal and includes virtual modules
        (instructional design expert, online learning platforms and tools).
       Accomplishments working with a community coalition of partnerships.
       Advanced infrastructure for leveraging existing partnerships.

Component C: Innovation - Demonstration Projects
       Readiness and ability to begin implementation of the demonstration project and data
        collection within 1 month of award.
       Describes their relationship(s) with existing partners that will be engaged to implement
        the demonstration project.
       Additional capacity to evaluate the impact and effectiveness of the demonstration project
        to build community resilience.
d. Work Plan
Applicants should provide a detailed work plan for the first year of the project and a high-level
work plan for the subsequent years. The work plan should include evidence-based strategies and
activities to achieve all outcomes listed in the logic model.

All applicants must propose a comprehensive work plan to include activities designed to achieve
the short- and intermediate- term outcomes specified in this NOFO and that are aligned with the
following three high-level strategy categories:
       TRAIN CHWs to ensure comprehensive acquisition and reinforcement of relevant
        knowledge, roles, and skills to support the COVID-19 public health response to manage
        outbreaks and community spread.
       DEPLOY CHWs to manage outbreaks and spread of COVID-19 among priority
        populations within communities.
       ENGAGE CHWs to help build and strengthen community resilience to mitigate the
        impact of COVID-19 by improving the overall health of priority populations within
        communities.
CDC will provide feedback and technical assistance to recipients to finalize the work plan post-
award.

Applicants must name this file "Component ___[A, B or C] Work Plan" and upload to
www.grants.gov.
e. CDC Monitoring and Accountability Approach
Monitoring activities include routine and ongoing communication between CDC and recipients,
site visits, and recipient reporting (including work plans, performance, and financial reporting).
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Consistent with applicable grants regulations and policies, CDC expects the following to be
included in post-award monitoring for grants and cooperative agreements:
       Tracking recipient progress in achieving the desired outcomes.
       Ensuring the adequacy of recipient systems that underlie and generate data reports.
       Creating an environment that fosters integrity in program performance and results.
Monitoring may also include the following activities deemed necessary to monitor the award:
       Ensuring that work plans are feasible based on the budget and consistent with the intent
        of the award.
       Ensuring that recipients are performing at a sufficient level to achieve outcomes
        within stated timeframes.
       Working with recipients on adjusting the work plan based on achievement of
        outcomes, evaluation results and changing budgets.
       Monitoring performance measures (both programmatic and financial) to assure
        satisfactory performance levels.
Monitoring and reporting activities that assist grants management staff (e.g., grants management
officers and specialists, and project officers) in the identification, notification, and management
of high-risk recipients.
Failure to participate in the monitoring and reporting activities could result in the restriction of
funds.

Satisfactory progress for this NOFO would include: (a) meeting all deadlines for reporting
performance measures, (b) working with recipients of DP21-2110 to evaluate impact, and (c)
appropriate and timely response to requests from CDC staff supporting this NOFO.
f. CDC Program Support to Recipients
N/A
B. Award Information
1. Funding Instrument Type:
G (Grant)

2. Award Mechanism:
Activity Code: U58

3. Fiscal Year:
2021
Estimated Total Funding:
$ 300,000,000
4. Approximate Total Fiscal Year Funding:

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$ 100,000,000
This amount is subject to the availability of funds.
5. Approximate Period of Performance Funding:
$ 300,000,000
This amount represents approximate funding provided through the CARES Act over a three-year
period of performance ($100 million per budget period for three budget periods) for formula-
based awards. This amount could increase during the period of performance.

6. Total Period of Performance Length:
3
year(s)
7. Expected Number of Awards:
70
8. Approximate Average Award:

$ 1,000,000
Per Budget Period
Over a three-year period of performance, CDC will award approximately $100 million each
budget year for three years with the average award varying. These grants will range
approximately from $350,000 - $3 million per year depending on the size and scope of activity.
The range of funds is broad to accommodate a varied number of organizations based on capacity
and a range of catchment areas whose resource needs will vary. Approximate average one-year
award amounts for each component are:

Component A (Capacity Building): $600K
Component B (Implementation Ready): $2M
Component C (Innovation – demonstration projects): $2M
9. Award Ceiling:
$ 5,000,000
Per Budget Period
The ceiling may increase based on availability of funds.
10. Award Floor:
$ 350,000
Per Budget Period
11. Estimated Award Date:
August 01, 2021
Throughout the project period, CDC will continue the award based on the availability of funds,
the evidence of satisfactory progress by the recipient (as documented in required reports), and
the determination that continued funding is in the best interest of the federal government. The
total number of years for which federal support has been approved (project period) will be shown
in the “Notice of Award.” This information does not constitute a commitment by the federal

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government to fund the entire period. The total period of performance comprises the initial
competitive segment and any subsequent non-competitive continuation award(s).


12. Budget Period Length:
12 month(s)


13. Direct Assistance
Direct Assistance (DA) is not available through this NOFO.
If you are successful and receive a Notice of Award, in accepting the award, you agree that the
award and any activities thereunder are subject to all provisions of 45 CFR Part 75, currently in
effect or implemented during the period of the award, other Department regulations and policies
in effect at the time of the award, and applicable statutory provisions.


C. Eligibility Information
1. Eligible Applicants
Eligibility Category:
00 (State governments)
01 (County governments)
07 (Native American tribal governments (Federally recognized))
25 (Others (see text field entitled "Additional Information on Eligibility" for clarification))
11 (Native American tribal organizations (other than Federally recognized tribal governments))
Additional Eligibility Category:
Government Organizations:
State (includes the District of Columbia)
Local governments or their bona fide agents
Territorial governments or their bona fide agents in the Commonwealth of Puerto Rico, the
Virgin Islands, the Commonwealth of the Northern Marianna Islands, American Samoa, Guam,
the Federated States of Micronesia, the Republic of the Marshall Islands, and the Republic of
Palau
American Indian or Alaska Native tribal governments (federally recognized or state-recognized)
American Indian or Alaska native tribally designated organizations
2. Additional Information on Eligibility
As authorized by the Coronavirus Aid, Relief, and Economic Security Act ("CARES ACT";
Public Law 116-136), eligibility is limited to those listed above as well as those listed in
Additional Information on Eligibility and include:
           American Indian/Alaska Native Urban Indian Centers

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            Health Service Providers to tribes
Applicants may apply for Component A only, or Component B only, but not both.
If an applicant applies for both Component A AND Component B, CDC will determine the
application to be non-responsive and it will not receive further review.
Only Component B applicants may also apply for Component C.
       Only applicants that are approved and funded for Component B will be considered for
        Component C funding. The Component C application must be submitted at the same
        time as the Component B application. No awards for Component C will be made to
        Component A applicants. If applying for Component C, three elements are required for
        submission: a) a separate proposal not to exceed four pages clearly describing the
        proposed innovation for the demonstration including rationale, approach, expected
        impact, and evaluation; b) a budget narrative; and c) a workplan.
A minimum of 3 eligible tribal entities (i.e., tribes, tribal organizations, urban Indian health
organizations, or health service providers to tribes) across Components A, B, and C will be
funded.
For non-tribal applicants, we will fund at least one application in each of the 10 HHS
regions with a maximum of 3 awards per state.
If a state applies and identifies a particular county(ies) as their catchment area, they must submit
a letter from appropriate county-level government confirming the county’s agreement with the
application. A locality may apply separately or may join with other localities meeting COVID-
19 and poverty requirements and submit an application for a single responsibility for all financial
and reporting requirements. A locality joining with other localities for the application must
submit a letter from appropriate county-level government confirming the county’s agreement
with the application. Applicants must file the letter, as appropriate, name the file “CHW_County
Agreement_ApplicantName’, and upload it as a PDF file at www.grants.gov.
APPLICANTS MUST CLEARLY STATE WHICH COMPONENT(S) THEY ARE
APPLYING FOR IN THEIR PROJECT ABSTRACT.
3. Justification for Less than Maximum Competition
4. Cost Sharing or Matching
Cost Sharing / Matching Requirement:
No
5. Maintenance of Effort
Maintenance of effort is not required for this program
D. Required Registrations
1. Required Registrations
An organization must be registered at the three following locations before it can submit an
application for funding at www.grants.gov.
a. Data Universal Numbering System: All applicant organizations must obtain a Data


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Universal Numbering System (DUNS) number. A DUNS number is a unique nine-digit
identification number provided by Dun & Bradstreet (D&B). It will be used as the Universal
Identifier when applying for federal awards or cooperative agreements.
The applicant organization may request a DUNS number by telephone at 1-866-705-5711 (toll
free) or internet at http:// fedgov.dnb. com/ webform/ displayHomePage.do. The DUNS number
will be provided at no charge.
If funds are awarded to an applicant organization that includes sub-recipients, those sub-
recipients must provide their DUNS numbers before accepting any funds.
b. System for Award Management (SAM): The SAM is the primary registrant database for the
federal government and the repository into which an entity must submit information required to
conduct business as a recipient. All applicant organizations must register with SAM, and will be
assigned a SAM number. All information relevant to the SAM number must be current at all
times during which the applicant has an application under consideration for funding by CDC. If
an award is made, the SAM information must be maintained until a final financial report is
submitted or the final payment is received, whichever is later. The SAM registration process can
require 10 or more business days, and registration must be renewed annually. Additional
information about registration procedures may be found at https://www.sam.gov/index.html.
c. Grants.gov: The first step in submitting an application online is registering your organization
atwww.grants.gov, the official HHS E-grant Web site. Registration information is located at the
"Applicant Registration" option atwww.grants.gov.
All applicant organizations must register at www.grants.gov. The one-time registration process
usually takes not more
than five days to complete. Applicants should start the registration process as early as possible.
Step
       System      Requirements                    Duration                    Follow Up

                   1. Click on http://
                   fedgov.dnb.com/ webform
                   2. Select Begin DUNS
                                                                               To confirm that you
                   search/request process
                                                                               have been issued a
       Data        3. Select your country or
                                                                               new DUNS number
       Universal   territory and follow the
                                                                               check online at
1      Number      instructions to obtain your     1-2 Business Days
                                                                               (http://
       System      DUNS 9-digit #
                                                                               fedgov.dnb.com/
       (DUNS)
                   4. Request appropriate staff                                webform) or call 1-
                   member(s) to obtain DUNS                                    866-705-5711
                   number, verify & update
                   information under DUNS
                   number




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                  1. Retrieve organizations
     System for
                  DUNS number
     Award
                                                                           For SAM Customer
     Management 2. Go
                                                                           Service
     (SAM)        to https://www.sam.gov/SAM 3-5 Business Days but up
                                                                           Contact https://fsd.g
2    formerly     / and designate an E-Biz POC to 2 weeks and must be
                                                                           ov/ fsd-gov/
     Central      (note CCR username will not renewed once a year
                                                                           home.do Calls: 866-
     Contractor work in SAM and you will
                                                                           606-8220
     Registration need to have an active SAM
     (CCR)        account before you can
                  register on grants.gov)
                  1. Set up an individual
                  account in Grants.gov using
                  organization new DUNS
                  number to become an
                  authorized
                  organization representative Same day but can take 8
                  (AOR)                         weeks to be fully
                                                                           Register early! Log
                                                registered and approved in
                  2. Once the account is set up                            into grants.gov and
                                                the system (note,
3    Grants.gov the E-BIZ POC will be                                      check AOR status
                                                applicants MUST obtain a
                  notified via email                                       until it shows you
                                                DUNS number and SAM
                  3. Log into grants.gov using                             have been approved
                                                account before applying
                  the password the E-BIZ POC
                                                on grants.gov)
                  received and create new
                  password
                   4. This authorizes the AOR to
                   submit applications on behalf
                   of the organization


2. Request Application Package
Applicants may access the application package at www.grants.gov.
3. Application Package
Applicants must download the SF-424, Application for Federal Assistance, package
associated with this funding opportunity at www.grants.gov.
 4. Submission Dates and Times
If the application is not submitted by the deadline published in the NOFO, it will not
be processed. Office of Grants Services (OGS) personnel will notify the applicant that their
application did not meet the deadline. The applicant must receive pre-approval to submit a paper
application (see Other Submission Requirements section for additional details). If the applicant is
authorized to submit a paper application, it must be received by the deadline provided by OGS.
a. Letter of Intent Deadline (must be emailed or postmarked by)


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03/25/2021
LOI is not required or requested.
b. Application Deadline
Number Of Days from Publication 60
05/24/2021
11:59 pm U.S. Eastern Standard Time, at www.grants.gov. If Grants.gov is inoperable and
cannot receive applications, and circumstances preclude advance notification of an extension,
then applications must be submitted by the first business day on which grants.gov operations
resume.
Due Date for Information Conference Call
Date: March 31, 2021

Time: 3:30 pm - 4:30 pm U.S. Eastern Standard Time

Conference Number: 800-369-3192

Participant Code: 5479788

Join via Computer: https://adobeconnect.cdc.gov/r0er4qejjemc/

Potential applicants may also submit questions via email at: nccdphp_chw@cdc.gov

The following website will contain pre-and post-conference call information, including questions
and answers submitted by potential applicants: Community Health Workers for Covid Response
and Resilient Communities | CDC
5. Pre-Award Assessments
Risk Assessment Questionnaire Requirement
CDC is required to conduct pre-award risk assessments to determine the risk an applicant poses
to meeting federal programmatic and administrative requirements by taking into account issues
such as financial instability, insufficient management systems, non-compliance with award
conditions, the charging of unallowable costs, and inexperience. The risk assessment will include
an evaluation of the applicant’s CDC Risk Questionnaire, located
at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, as well as a
review of the applicant’s history in all available systems; including OMB-designated repositories
of government-wide eligibility and financial integrity systems (see 45 CFR 75.205(a)), and other
sources of historical information. These systems include, but are not limited to: FAPIIS
(https://www.fapiis.gov/), including past performance on federal contracts as per Duncan Hunter
National Defense Authorization Act of 2009; Do Not Pay list; and System for Award
Management (SAM) exclusions.
CDC requires all applicants to complete the Risk Questionnaire, OMB Control Number 0920-
1132 annually. This questionnaire, which is located
at https://www.cdc.gov/grants/documents/PPMR-G-CDC-Risk-Questionnaire.pdf, along with

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supporting documentation must be submitted with your application by the closing date of the
Notice of Funding Opportunity Announcement. If your organization has completed CDC’s Risk
Questionnaire within the past 12 months of the closing date of this NOFO, then you must submit
a copy of that questionnaire, or submit a letter signed by the authorized organization
representative to include the original submission date, organization’s EIN and DUNS.
When uploading supporting documentation for the Risk Questionnaire into this application
package, clearly label the documents for easy identification of the type of documentation. For
example, a copy of Procurement policy submitted in response to the questionnaire may be
labeled using the following format: Risk Questionnaire Supporting Documents _ Procurement
Policy.
Duplication of Efforts
Applicants are responsible for reporting if this application will result in programmatic,
budgetary, or commitment overlap with another application or award (i.e. grant, cooperative
agreement, or contract) submitted to another funding source in the same fiscal
year. Programmatic overlap occurs when (1) substantially the same project is proposed in more
than one application or is submitted to two or more funding sources for review and funding
consideration or (2) a specific objective and the project design for accomplishing the objective
are the same or closely related in two or more applications or awards, regardless of the funding
source. Budgetary overlap occurs when duplicate or equivalent budgetary items (e.g.,
equipment, salaries) are requested in an application but already are provided by another
source. Commitment overlap occurs when an individual’s time commitment exceeds 100
percent, whether or not salary support is requested in the application. Overlap, whether
programmatic, budgetary, or commitment of an individual’s effort greater than 100 percent, is
not permitted. Any overlap will be resolved by the CDC with the applicant and the PD/PI prior
to award.
Report Submission: The applicant must upload the report in Grants.gov under “Other
Attachment Forms.” The document should be labeled: "Report on Programmatic, Budgetary,
and Commitment Overlap.”
6. Content and Form of Application Submission
Applicants are required to include all of the following documents with their application package
at www.grants.gov.
7. Letter of Intent
Is a LOI:
Not Applicable
LOI is not requested or required as part of the application for this NOFO.
 8. Table of Contents
(There is no page limit. The table of contents is not included in the project narrative page
limit.): The applicant must provide, as a separate attachment, the “Table of Contents” for the
entire submission package.
Provide a detailed table of contents for the entire submission package that includes all of the
documents in the application and headings in the "Project Narrative" section. Name the file

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"Table of Contents" and upload it as a PDF file under "Other Attachment Forms"
at www.grants.gov.
 9. Project Abstract Summary
A project abstract is included on the mandatory documents list and must be submitted
at www.grants.gov. The project abstract must be a self-contained, brief summary of the proposed
project including the purpose and outcomes. This summary must not include any proprietary or
confidential information. Applicants must enter the summary in the "Project Abstract Summary"
text box at www.grants.gov.
Applicants must clearly state which component(s) they are applying for in their Project Abstract.
10. Project Narrative
Multi-component NOFOs may have a maximum of 15 pages for the “base” (subsections of the
Project Description that the components share with each other, which may include target
population, inclusion, collaboration, etc.); and up to 4 additional pages per component for
Project Narrative subsections that are specific to each component.
Text should be single spaced, 12 point font, 1-inch margins, and number all pages. Page limits
include work plan; content beyond specified limits may not be reviewed.
Applicants should use the federal plain language guidelines and Clear Communication Index to
respond to this Notice of Funding Opportunity Announcement. Note that recipients should also
use these tools when creating public communication materials supported by this NOFO. Failure
to follow the guidance and format may negatively impact scoring of the application.
Component A applicants can submit a project narrative that is up to 20 pages long. The work
plan and budget narrative are included in the 20 pages.

Component B applicants can submit a project narrative that is up to 20 pages long. The work
plan and budget narrative are included in the 20 pages.

Applicants applying for both Component B and Component C can submit a project narrative for
Component B that is up to 20 pages long (including the Component B work plan and budget
narrative) and a separate Component C proposal, not to exceed 4 pages, clearly describing the
proposed innovation for the demonstration project including rationale, approach, expected
impact and evaluation, budget narrative, and work plan.

Pages in the narrative exceeding these limits may not be reviewed.
a. Background
Applicants must provide a description of relevant background information that includes the
context of the problem (See CDC Background).
 b. Approach
i. Purpose
Applicants must describe in 2-3 sentences specifically how their application will address the
problem as described in the CDC Background section.

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ii. Outcomes
Applicants must clearly identify the outcomes they expect to achieve by the end of the period of
performance. Outcomes are the results that the program intends to achieve. All outcomes must
indicate the intended direction of change (e.g., increase, decrease, maintain). (See the logic
model in the Approach section of the CDC Project Description.)

iii. Strategies and Activities
Applicants must provide a clear and concise description of the strategies and activities they will
use to achieve the period of performance outcomes. Applicants must select existing evidence-
based strategies that meet their needs, or describe in the Applicant Evaluation and Performance
Measurement Plan how these strategies will be evaluated over the course of the period of
performance. (See CDC Project Description: Strategies and Activities section.)
 1. Collaborations
Applicants must describe how they will collaborate with programs and organizations either
internal or external to CDC. Applicants must address the Collaboration requirements as
described in the CDC Project Description.
2. Target Populations and Health Disparities
Applicants must describe the specific target population(s) in their jurisdiction and explain how
such a target will achieve the goals of the award and/or alleviate health disparities. The
applicants must also address how they will include specific populations that can benefit from the
program that is described in the Approach section. Applicants must address the Target
Populations and Health Disparities requirements as described in the CDC Project Description.
c. Applicant Evaluation and Performance Measurement Plan
Applicants must provide an evaluation and performance measurement plan that demonstrates
how the recipient will fulfill the requirements described in the CDC Evaluation and Performance
Measurement and Project Description sections of this NOFO. At a minimum, the plan must
describe:
              How applicant will collect the performance measures, respond to the evaluation
               questions, and use evaluation findings for continuous program quality
               improvement. The Paperwork Reduction Act of 1995 (PRA): Applicants are
               advised that any activities involving information collections (e.g., surveys,
               questionnaires, applications, audits, data requests, reporting, recordkeeping and
               disclosure requirements) from 10 or more individuals or non-Federal entities,
               including State and local governmental agencies, and funded or sponsored by the
               Federal Government are subject to review and approval by the Office of
               Management and Budget. For further information about CDC’s requirements
               under PRA see https://www.cdc.gov/od/science/integrity/reducePublicBurden/.
              How key program partners will participate in the evaluation and performance
               measurement planning processes.

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              Available data sources, feasibility of collecting appropriate evaluation and
               performance data, data management plan (DMP), and other relevant data
               information (e.g., performance measures proposed by the applicant).
Where the applicant chooses to, or is expected to, take on specific evaluation studies, they should
be directed to:
              Describe the type of evaluations (i.e., process, outcome, or both).
              Describe key evaluation questions to be addressed by these evaluations.
              Describe other information (e.g., measures, data sources).
Recipients will be required to submit a more detailed Evaluation and Performance Measurement
plan (including the DMP elements) within the first 6 months of award, as described in the
Reporting Section of this NOFO.
d. Organizational Capacity of Applicants to Implement the Approach
Applicants must address the organizational capacity requirements as described in the CDC
Project Description.
 11. Work Plan
(Included in the Project Narrative’s page limit)
Applicants must prepare a work plan consistent with the CDC Project Description Work Plan
section. The work plan integrates and delineates more specifically how the recipient plans to
carry out achieving the period of performance outcomes, strategies and activities, evaluation and
performance measurement.
12. Budget Narrative
Applicants must submit an itemized budget narrative. When developing the budget narrative,
applicants must consider whether the proposed budget is reasonable and consistent with the
purpose, outcomes, and program strategy outlined in the project narrative. The budget must
include:
              Salaries and wages
              Fringe benefits
              Consultant costs
              Equipment
              Supplies
              Travel
              Other categories
              Contractual costs
              Total Direct costs
              Total Indirect costs
Indirect costs could include the cost of collecting, managing, sharing and preserving data.

Indirect costs on grants awarded to foreign organizations and foreign public entities and
performed fully outside of the territorial limits of the U.S. may be paid to support the costs of
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compliance with federal requirements at a fixed rate of eight percent of MTDC exclusive of
tuition and related fees, direct expenditures for equipment, and subawards in excess of $25,000.
Negotiated indirect costs may be paid to the American University, Beirut, and the World Health
Organization.

If applicable and consistent with the cited statutory authority for this announcement, applicant
entities may use funds for activities as they relate to the intent of this NOFO to meet national
standards or seek health department accreditation through the Public Health Accreditation Board
(see: http://www.phaboard.org). Applicant entities to whom this provision applies include state,
local, territorial governments (including the District of Columbia, the Commonwealth of Puerto
Rico, the Virgin Islands, the Commonwealth of the Northern Marianna Islands, American
Samoa, Guam, the Federated States of Micronesia, the Republic of the Marshall Islands, and the
Republic of Palau), or their bona fide agents, political subdivisions of states (in consultation with
states), federally recognized or state-recognized American Indian or Alaska Native tribal
governments, and American Indian or Alaska Native tribally designated organizations. Activities
include those that enable a public health organization to deliver public health services such as
activities that ensure a capable and qualified workforce, up-to-date information systems, and the
capability to assess and respond to public health needs. Use of these funds must focus on
achieving a minimum of one national standard that supports the intent of the NOFO. Proposed
activities must be included in the budget narrative and must indicate which standards will be
addressed.

Vital records data, including births and deaths, are used to inform public health program and
policy decisions. If applicable and consistent with the cited statutory authority for this NOFO,
applicant entities are encouraged to collaborate with and support their jurisdiction’s vital records
office (VRO) to improve vital records data timeliness, quality and access, and to advance public
health goals. Recipients may, for example, use funds to support efforts to build VRO capacity
through partnerships; provide technical and/or financial assistance to improve vital records
timeliness, quality or access; or support vital records improvement efforts, as approved by CDC.

Applicants must name this file “Budget Narrative” and upload it as a PDF file
at www.grants.gov. If requesting indirect costs in the budget, a copy of the indirect cost-rate
agreement is required. If the indirect costs are requested, include a copy of the current negotiated
federal indirect cost rate agreement or a cost allocation plan approval letter for those Recipients
under such a plan. Applicants must name this file “Indirect Cost Rate” and upload it at
www.grants.gov.
13. Pilot Program for Enhancement of Employee Whistleblowers Protections
Pilot Program for Enhancement of Employee Whistleblower Protections: All applicants will be
subject to a term and condition that applies the terms of 48 Code of Federal Regulations
(CFR) section 3.908 to the award and requires that recipients inform their employees in
writing (in the predominant native language of the workforce) of employee whistleblower rights
and protections under 41 U.S.C. 4712.



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13a. Funds Tracking
Proper fiscal oversight is critical to maintaining public trust in the stewardship of federal funds.
Effective October 1, 2013, a new HHS policy on subaccounts requires the CDC to set up
payment subaccounts within the Payment Management System (PMS) for all new grant awards.
Funds awarded in support of approved activities and drawdown instructions will be identified on
the Notice of Award in a newly established PMS subaccount (P subaccount). Recipients will be
required to draw down funds from award-specific accounts in the PMS. Ultimately, the
subaccounts will provide recipients and CDC a more detailed and precise understanding of
financial transactions. The successful applicant will be required to track funds by P-accounts/sub
accounts for each project/cooperative agreement awarded.
Applicants are encouraged to demonstrate a record of fiscal responsibility and the ability to
provide sufficient and effective oversight. Financial management systems must meet the
requirements as described 45 CFR 75 which include, but are not limited to, the following:
              Records that identify adequately the source and application of funds for federally-
               funded activities.
              Effective control over, and accountability for, all funds, property, and other assets.
              Comparison of expenditures with budget amounts for each Federal award.
              Written procedures to implement payment requirements.
              Written procedures for determining cost allowability.
              Written procedures for financial reporting and monitoring.
13b. Copyright Interests Provisions
This provision is intended to ensure that the public has access to the results and accomplishments
of public health activities funded by CDC. Pursuant to applicable grant regulations and CDC’s
Public Access Policy, Recipient agrees to submit into the National Institutes of Health (NIH)
Manuscript Submission (NIHMS) system an electronic version of the final, peer-reviewed
manuscript of any such work developed under this award upon acceptance for publication, to be
made publicly available no later than 12 months after the official date of publication. Also at the
time of submission, Recipient and/or the Recipient’s submitting author must specify the date the
final manuscript will be publicly accessible through PubMed Central (PMC). Recipient and/or
Recipient’s submitting author must also post the manuscript through PMC within twelve (12)
months of the publisher's official date of final publication; however the author is strongly
encouraged to make the subject manuscript available as soon as possible. The recipient must
obtain prior approval from the CDC for any exception to this provision.
The author's final, peer-reviewed manuscript is defined as the final version accepted for journal
publication, and includes all modifications from the publishing peer review process, and all
graphics and supplemental material associated with the article. Recipient and its submitting
authors working under this award are responsible for ensuring that any publishing or copyright
agreements concerning submitted articles reserve adequate right to fully comply with this
provision and the license reserved by CDC. The manuscript will be hosted in both PMC and the
CDC Stacks institutional repository system. In progress reports for this award, recipient must
identify publications subject to the CDC Public Access Policy by using the applicable NIHMS
identification number for up to three (3) months after the publication date and the PubMed
Central identification number (PMCID) thereafter.


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13c. Data Management Plan
As identified in the Evaluation and Performance Measurement section, applications involving
data collection or generation must include a Data Management Plan (DMP) as part of their
evaluation and performance measurement plan unless CDC has stated that CDC will take on the
responsibility of creating the DMP. The DMP describes plans for assurance of the quality of the
public health data through the data's lifecycle and plans to deposit the data in a repository to
preserve and to make the data accessible in a timely manner. See web link for additional
information: https://www.cdc.gov/grants/additionalrequirements/ar-25.html
14. Funding Restrictions
Restrictions that must be considered while planning the programs and writing the budget are:
              Recipients may not use funds for research.
              Recipients may not use funds for clinical care except as allowed by law.
              Recipients may use funds only for reasonable program purposes, including
               personnel, travel, supplies, and services.
              Generally, recipients may not use funds to purchase furniture or equipment. Any
               such proposed spending must be clearly identified in the budget.
              Reimbursement of pre-award costs generally is not allowed, unless the CDC
               provides written approval to the recipient.
              Other than for normal and recognized executive-legislative relationships, no funds
               may be used for:
                    publicity or propaganda purposes, for the preparation, distribution, or use
                      of any material designed to support or defeat the enactment of legislation
                      before any legislative body
                    the salary or expenses of any grant or contract recipient, or agent acting
                      for such recipient, related to any activity designed to influence the
                      enactment of legislation, appropriations, regulation, administrative action,
                      or Executive order proposed or pending before any legislative body
              See Additional Requirement (AR) 12 for detailed guidance on this prohibition
               andadditional guidance on lobbying for CDC recipients.
              The direct and primary recipient in a cooperative agreement program must
               perform a substantial role in carrying out project outcomes and not merely serve
               as a conduit for an award to another party or provider who is ineligible.
 15. Other Submission Requirements
a. Electronic Submission: Applications must be submitted electronically by using the forms and
instructions posted for this notice of funding opportunity atwww.grants.gov. Applicants can
complete the application package using Workspace, which allows forms to be filled out online or
offline. All application attachments must be submitted using a PDF file format. Instructions and
training for using Workspace can be found at www.grants.gov under the "Workspace Overview"
option.
b. Tracking Number: Applications submitted through www.grants.gov are time/date stamped
electronically and assigned a tracking number. The applicant’s Authorized Organization
Representative (AOR) will be sent an e-mail notice of receipt whenwww.grants.gov receives the

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application. The tracking number documents that the application has been submitted and initiates
the required electronic validation process before the application is made available to CDC.
c. Validation Process: Application submission is not concluded until the validation process is
completed successfully. After the application package is submitted, the applicant will receive a
“submission receipt” e-mail generated by www.grants.gov. A second e-mail message to
applicants will then be generated bywww.grants.gov that will either validate or reject the
submitted application package. This validation process may take as long as two business days.
Applicants are strongly encouraged to check the status of their application to ensure that
submission of their package has been completed and no submission errors have
occurred. Applicants also are strongly encouraged to allocate ample time for filing to guarantee
that their application can be submitted and validated by the deadline published in the NOFO.
Non- validated applications will not be accepted after the published application deadline date.

If you do not receive a “validation” e-mail within two business days of application submission,
please contact www.grants.gov. For instructions on how to track your application, refer to the e-
mail message generated at the time of application submission or the Grants.gov Online User
Guide.
https://www.grants.gov/help/html/help/index.htm?callingApp=custom#t=GetStarted%2FGetStart
ed.htm
d. Technical Difficulties: If technical difficulties are encountered at www.grants.gov, applicants
should contact Customer Service atwww.grants.gov. The www.grants.gov Contact Center is
available 24 hours a day, 7 days a week, except federal holidays. The Contact Center is available
by phone at 1-800-518-4726 or by e-mail at support@grants.gov. Application submissions sent
by e-mail or fax, or on CDs or thumb drives will not be accepted. Please note
thatwww.grants.gov is managed by HHS.
e. Paper Submission: If technical difficulties are encountered at www.grants.gov, applicants
should call thewww.grants.gov Contact Center at 1-800-518-4726 or e-mail them
at support@grants.gov for assistance. After consulting with the Contact Center, if the technical
difficulties remain unresolved and electronic submission is not possible, applicants may e-mail
CDC GMO/GMS, before the deadline, and request permission to submit a paper application.
Such requests are handled on a case-by-case basis.
An applicant’s request for permission to submit a paper application must:
           1. Include the www.grants.gov case number assigned to the inquiry
           2. Describe the difficulties that prevent electronic submission and the efforts taken
              with the www.grants.gov Contact Center to submit electronically; and
           3. Be received via e-mail to the GMS/GMO listed below at least three calendar days
              before the application deadline. Paper applications submitted without prior
              approval will not be considered. If a paper application is authorized, OGS will
              advise the applicant of specific instructions for submitting the application (e.g.,
              original and two hard copies of the application by U.S. mail or express delivery
              service).
E. Review and Selection Process

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1. Review and Selection Process: Applications will be reviewed in three phases
a. Phase 1 Review
All applications will be initially reviewed for eligibility and completeness by the Office of
Grants Services. Complete applications will be reviewed for responsiveness by Grants
Management Officials and Program Officials. Non-responsive applications will not advance to
Phase II review. Applicants will be notified that their applications did not meet eligibility and/or
published submission requirements.
b. Phase II Review
A review panel will evaluate complete, eligible applications in accordance with the criteria
below.

i. Approach
ii. Evaluation and Performance Measurement
iii. Applicant’s Organizational Capacity to Implement the Approach

Not more than thirty days after the Phase II review is completed, applicants will be notified
electronically if their application does not meet eligibility or published submission requirements.
i. Component A: Approach                                                     Maximum Points: 45
Purpose and Outcomes (20 points) – The extent to which the applicant:
    1. Describes the catchment area and provides quality information reflecting a) the burden
       of COVID-19 infection rates and/or COVID-19 mortality rates and b) poverty rates in
       the populations disproportionally affected by COVID-19 infections. (5 points)
    2.    Describes how they will work with CHWs to reach and serve the communities described
         in the catchment area. (5 points)
    3. Provides a clear, concise statement of the community problem(s) and how CHWs are
       integral to the project. (5 points)
    4. Provides a clear description of how they intend to train, deploy, and engage CHWs to
       support COVID-19 response and prevention in described catchment area. (5 points)


Strategies and Activities (25 points)- The extent to which the applicant:
    5. Proposes activities that are aligned with existing COVID-19 response activities,
       including other CDC-funded programs, and ensures there is no duplication of effort. (5
       points)
    6. Proposes work that will be done in the required and optional strategy areas that are
       aligned with the outcomes presented in the logic model. (5 points)
    7. Describes how they will collaborate with other federally funded programs, community
       partners, and coalitions who are addressing COVID-19, to carry out the work of the
       grant. Letters of support are provided. If applicant identifies a particular county(ies)
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      as their catchment area, or is a state intending to work in a specific county(ies), a letter(s)
      from appropriate county-level government confirming the county’s agreement with the
      application is included. (5 points)
   8. Provides a work plan that is aligned with the strategies and activities described in the
      NOFO and includes a description of specific tasks that are reasonable and feasible, with
      realistic completion dates, to accomplish the outcomes as stated in the NOFO. (10
      points)


ii. Component A: Evaluation and Performance
                                                                             Maximum Points: 25
Measurement
The extent to which the applicant:
   1. Dedicates at least 10% of funds to support evaluation (5 points)
   2. Commits to work with the recipient(s) of the Evaluation TA NOFO to refine evaluation
      plans and performance measures and facilitate the national evaluation. (5 points)
   3. Describes how CHWs and key partners will be engaged in the evaluation and
      performance measurement planning processes. (5 points)
   4. Describes potentially available data sources for the performance measures. (5 points)
   5. Describes plans to submit at least two success stories per year with impacts using the
      NCCDPHP Success Stories Application. (5 points)


iii. Component A: Applicant's Organizational Capacity to
                                                                             Maximum Points: 30
Implement the Approach
The extent to which the applicant:
   1. Describes their relevant experience (approximately 1 year) working with CHWs and
      provides examples of CHW-related projects and accomplishments they’ve
      achieved. (10 points)
   2. Describes a staffing plan that includes roles, responsibilities, and qualifications of all
      staff, including evaluation staff, who will have a role in implementing program strategies
      and achieving outcomes. Contractual staff and/or organizations should be included in
      the staffing plan, as applicable. Resumes for key staff, including key contractual staff,
      are included. (5 points)
   3. Describes day-to-day responsibility for key tasks including leadership of project, budget
      management, contract management, implementation of activities and tasks, monitoring
      progress, data collection and management, preparation of reports, partnership
      development and coordination, evaluation and performance monitoring, and
      communication with partners and CDC. Describes readiness and ability to begin
      implementation within 1 month of award. (10 points)



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   4. Describes their relationship and accomplishments with existing coalition(s) and other
      CDC-funded programs with which they will partner to implement the activities outlined
      in their workplan and address COVID-19 response and prevention response efforts?
      (5 points)


Budget                                                                    Maximum Points: 0
Though not scored, applicants must assure their proposed budget(s) align with the proposed
work plan and adhere to CDC fiscal policy.
i. Approach                                                                 Maximum Points: 35
Component B: Approach
Purpose and Outcomes (15 points) – The extent to which the applicant:
   1. Describes the catchment area and provides quality information reflecting a) the burden
      of COVID-19 infection rates and/or COVID-19 mortality rates and b) poverty rates in
      the populations disproportionally affected by COVID-19 infections. (5 points)
   2.    Describes how they will work with CHWs to reach and serve the communities described
        in the catchment area. (5 points)
   3. Provides a clear, concise statement of the community problem(s) and how CHWs are
      integral to the project. (2 points)
   4. Provides a clear description of how they intend to train, deploy, and engage CHWs to
      support COVID-19 response and prevention in described catchment area. (3 points)


Strategies and Activities (20 points)- The extent to which the applicant:
   5. Proposes activities that are aligned with existing COVID-19 response activities,
      including other CDC-funded programs, and ensures there is no duplication of effort. (5
      points)
   6. Proposes work that will be done in the required and optional strategy areas that are
      aligned with the outcomes presented in the logic model. (5 points)
   7. Describes how they will collaborate with other federally funded programs, community
      partners, and coalitions who are addressing COVID-19, to carry out the work of the
      grant. Letters of support are provided. If applicant identifies a particular county(ies)
      as their catchment area, or is a state intending to work in specific county(ies), a
      letter(s) from appropriate county-level government confirming the county’s agreement
      with the application is included. (5 points)
   8. Provides a work plan that is aligned with the strategies and activities described in the
      NOFO and includes a description of specific tasks that are reasonable and feasible, with
      realistic completion dates, to accomplish the outcomes as stated in the NOFO. (5 points)
ii. Evaluation and Performance Measurement                                  Maximum Points: 25


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Component B: Evaluation and Performance Measurement
The extent to which the applicant:
   1. Dedicates at least 10% of funds to support evaluation (5 points)
   2. Commits to work with the recipient(s) of the Evaluation TA NOFO to refine evaluation
      plans and performance measures and facilitate the national evaluation. (5 points)
   3. Describes how CHWs and key partners will be engaged in the evaluation and
      performance measurement planning processes. (5 points)
   4. Describes potentially available data sources for the performance measures. (5 points)
   5. Describes plans to submit at least two success stories per year with impacts using the
      NCCDPHP Success Stories Application. (5 points)
iii. Applicant's Organizational Capacity to Implement the
                                                                Maximum Points: 40
Approach
Component B: Applicant's Organizational Capacity to Implement Approach
The extent to which the applicant:
   1. Describes their relevant experience (approximately 3 years) working with CHWs and
   provides examples of CHW-related projects and accomplishments they’ve achieved. (10
   points)
   2. Describes a staffing plan that includes roles, responsibilities, and qualifications of all
   staff, including evaluation staff, who will have a role in implementing program strategies
   and achieving outcomes. Contractual staff and/or organizations should be included in the
   staffing plan, as applicable. Resumes for key staff, including key contractual staff, are
   included. (5 points)
   3. Describes day-to-day responsibility for key tasks including leadership of project, budget
   management, contract management, implementation of activities and tasks, monitoring
   progress, data collection and management, preparation of reports, partnership development
   and coordination, evaluation and performance monitoring, and communication with partners
   and CDC. Describes readiness and ability to begin implementation within 1 month of award.
   (5 points)
   4. Describes their relationship and accomplishments with existing coalition(s) and other
   CDC-funded programs with which they will partner to implement the activities outlined in
   their workplan and address COVID-19 response and prevention response efforts (10 points)
   5. Describe their expertise and credible working relationships with health care
   organizations/systems documented by letters of support/MOUs/MOAs. These
   could include: federally qualified health centers, private health care provider systems,
   Accountable Care Organizations, hospitals. (5 points)
   6. Demonstrates technical and technological infrastructure to support rapid recruitment,
   selection, hiring, training, and deployment of CHWs for the work of this grant. (5 points)
Budget                                                                      Maximum Points: 0


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Component B: Budget
Though not scored, applicants must assure their proposed budget(s) align with the proposed
work plan and adhere to CDC fiscal policy.
Component C: Approach                                                     Maximum Points: 40
The extent to which the applicant:
   1. Provides the rationale for the project through a clear, concise statement of the community
   problem(s) and how the innovative approach(es) that they propose involving CHWs
   are foundational in building community resilience. (10 points)
   2. Provides a proposal that clearly describes the approach and expected outcome(s) of
   the demonstration project, how innovation can address the issue, tangible activities that
   will be employed to accomplish those expected outcomes, and how they will be
   achieved within 2 years. (10 points)
   3. Clearly describes the critical role CHWs will play in implementing and evaluating
   the demonstration project. (5 points)
   4. Provides a clear description in their proposal of how they intend to use innovation and
   CHWs to address at least one of the high-level strategies in the NOFO (train,
   deploy, or engage). (5 points)
   5. Describes how they will work with new and/or existing programs, community partners,
   and coalitions to carry out the innovative strategies and activities proposed for the
   demonstration project. Letters of support will strengthen the application. (5 points)
   6. Provides a work plan that is aligned with the proposal and includes a description of
   specific tasks that are reasonable and feasible to implement the demonstration project
   and clearly identifies CHW role(s) and responsibilities in implementing and evaluating the
   demonstration project.       (5 points)
Component C: Evaluation and Performance Measurement                       Maximum Points: 35
The extent to which the applicant:
   1. Ensures at least 10% of funds are budgeted to support evaluation. (5 points)
   2. Provides a thorough evaluation plan that describes key evaluation questions and
   potential data sources to determine the impact and effectiveness of the demonstration
   project on building community resilience.       (10 points)
   3. Describes additional experienced staff (not identified in Component B) or experienced
   contracted organization identified to lead evaluation of the demonstration project. (5
   points)
   4. Commits to work with the recipient(s) of the Evaluation TA NOFO to refine evaluation
   plans and performance measures, and finalize appropriate data sources. (5 points)
   5. Describe how CHWs and key partners will be engaged in the evaluation and performance
   measurement planning processes and how recommendations for sustainability of such
   efforts will be incorporated into the evaluation plan. (5 points)


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   6. Describes clear monitoring and evaluation procedures and how evaluation and
   performance measurement will be incorporated into planning, implementing, and reporting
   of project activities and outcomes and enable continuous program quality improvement and
   inform sustainability planning. (5 points)
Component C: Applicant's Organizational Capacity to
                                                                              Maximum Points: 25
Implement Approach
The extent to which the applicant:
   1. Describes a staffing plan that is separate from Component B, inclusive of any contracts as
   applicable, for the demonstration project including roles and responsibilities and
   qualifications. Resumes for key staff, including contract staff if applicable, are included.
   (5 points)
   2. Describes day-to-day responsibility for key tasks including leadership of the
   demonstration project, budget management, contract management, implementation of
   activities and tasks, monitoring progress, data collection and management , preparation of
   reports, partnership development and coordination, and evaluation and performance
   monitoring, and communication with partners and CDC. (5 points)
   3. Demonstrates readiness and ability to begin implementation of the demonstration project
   within 1 month of award. (10 points)
   4. Describes their relationship with existing partners that will be engaged to implement the
   demonstration project. (5 points)
Component C: Budget                                                       Maximum Points: 0
Though not scored, applicants must assure their proposed budget(s) align with the proposed
work plan and adhere to CDC fiscal policy.


c. Phase III Review
     Applications for Components A and B will be funded separately. Only one application
       per organization will be considered for either Component A or Component B.
       CDC may fund out of rank order to ensure geographical representation in each of the 10
        HHS regions, COVID-19 infection rates, and/or poverty rates are being addressed, as
        well as ensuring applicants are reaching larger numbers of the target population and that a
        minimum of 3 eligible tribal entities (i.e., tribes, tribal organizations, urban Indian health
        organizations, or health service providers to tribes) across Components A, B, and C are
        funded.
       For Component C, CDC may fund out of rank order to ensure that innovative approaches
        are not duplicative and that demonstration projects are geographically dispersed.
       CDC will provide justification for any decision to fund out of rank order.
Review of risk posed by applicants.
Prior to making a Federal award, CDC is required by 31 U.S.C. 3321 and 41 U.S.C. 2313 to
review information available through any OMB-designated repositories of government-wide

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eligibility qualification or financial integrity information as appropriate. See also suspension and
debarment requirements at 2 CFR parts 180 and 376.
In accordance 41 U.S.C. 2313, CDC is required to review the non-public segment of the OMB-
designated integrity and performance system accessible through SAM (currently the
Federal Recipient Performance and Integrity Information System (FAPIIS)) prior to making a
Federal award where the Federal share is expected to exceed the simplified acquisition threshold,
defined in 41 U.S.C. 134, over the period of performance. At a minimum, the information in the
system for a prior Federal award recipient must demonstrate a satisfactory record of executing
programs or activities under Federal grants, cooperative agreements, or procurement awards; and
integrity and business ethics. CDC may make a Federal award to a recipient who does not fully
meet these standards, if it is determined that the information is not relevant to the current Federal
award under consideration or there are specific conditions that can appropriately mitigate the
effects of the non-Federal entity's risk in accordance with 45 CFR §75.207.
CDC’s framework for evaluating the risks posed by an applicant may incorporate results of the
evaluation of the applicant's eligibility or the quality of its application. If it is determined that a
Federal award will be made, special conditions that correspond to the degree of risk assessed
may be applied to the Federal award. The evaluation criteria is described in this Notice of
Funding Opportunity.
In evaluating risks posed by applicants, CDC will use a risk-based approach and may consider
any items such as the following:
(1) Financial stability;
(2) Quality of management systems and ability to meet the management standards prescribed in
this part;
(3) History of performance. The applicant's record in managing Federal awards, if it is a prior
recipient of Federal awards, including timeliness of compliance with applicable reporting
requirements, conformance to the terms and conditions of previous Federal awards, and if
applicable, the extent to which any previously awarded amounts will be expended prior to future
awards;
(4) Reports and findings from audits performed under subpart F 45 CFR 75 or the reports and
findings of any other available audits; and
(5) The applicant's ability to effectively implement statutory, regulatory, or other requirements
imposed on non-Federal entities.
CDC must comply with the guidelines on government-wide suspension and debarment in 2 CFR
part 180, and require non-Federal entities to comply with these provisions. These provisions
restrict Federal awards, subawards and contracts with certain parties that are debarred, suspended
or otherwise excluded from or ineligible for participation in Federal programs or activities.
2. Announcement and Anticipated Award Dates
Successful applicants can anticipate notice of funding by August 1, 2021.
F. Award Administration Information



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 1. Award Notices
Recipients will receive an electronic copy of the Notice of Award (NOA) from CDC OGS. The
NOA shall be the only binding, authorizing document between the recipient and CDC. The
NOA will be signed by an authorized GMO and emailed to the Recipient Business Officer listed
in application and the Program Director.

Any applicant awarded funds in response to this Notice of Funding Opportunity will be subject
to the DUNS, SAM Registration, and Federal Funding Accountability And Transparency Act Of
2006 (FFATA) requirements.

Unsuccessful applicants will receive notification of these results by e-mail with delivery receipt
or by U.S. mail.
If you are successful and receive a Notice of Award, in accepting the award, you agree that the
award and any activities thereunder are subject to all provisions of 45 CFR part 75, currently in
effect or implemented during the period of the award, other Department regulations and policies
in effect at the time of the award, and applicable statutory provisions.
2. Administrative and National Policy Requirements
Recipients must comply with the administrative and public policy requirements outlined in 45
CFR Part 75 and the HHS Grants Policy Statement, as appropriate.
Brief descriptions of relevant provisions are available
at http://www.cdc.gov/grants/additionalrequirements/index.html#ui-id-17.
The HHS Grants Policy Statement is available
at http://www.hhs.gov/sites/default/files/grants/grants/policies-regulations/hhsgps107.pdf.
A recipient of a grant or cooperative agreement awarded by the Department of Health and
Human Services (HHS) with funds made available under the Coronavirus Preparedness and
Response Supplemental Appropriations Act, 2020 (P.L. 116-123); the Coronavirus Aid, Relief,
and Economic Security Act, 2020 (the “CARES Act”) (P.L. 116-136); and/or the Paycheck
Protection Program and Health Care Enhancement Act (P.L. 116-139) agrees, as applicable to
the award, to: 1) comply with existing and/or future directives and guidance from the Secretary
regarding control of the spread of COVID-19; 2) in consultation and coordination with HHS,
provide, commensurate with the condition of the individual, COVID-19 patient care regardless
of the individual’s home jurisdiction and/or appropriate public health measures (e.g., social
distancing, home isolation); and 3) assist the United States Government in the implementation
and enforcement of federal orders related to quarantine and isolation.

In addition, to the extent applicable, Recipient will comply with Section 18115 of the CARES
Act, with respect to the reporting to the HHS Secretary of results of tests intended to detect
SARS–CoV–2 or to diagnose a possible case of COVID–19. Such reporting shall be in
accordance with guidance and direction from HHS and/or CDC.

Further, consistent with the full scope of applicable grant regulations (45 C.F.R. 75.322), the
purpose of this award, and the underlying funding, the recipient is expected to provide to CDC
copies of and/or access to COVID-19 data collected with these funds, including but not limited

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to data related to COVID-19 testing. CDC will specify in further guidance and directives what is
encompassed by this requirement.

This award is contingent upon agreement by the recipient to comply with existing and future
guidance from the HHS Secretary regarding control of the spread of COVID-19. In addition,
recipient is expected to flow down these terms to any subaward, to the extent applicable to
activities set out in such subaward
The full text of the Uniform Administrative Requirements, Cost Principles, and Audit
Requirements for HHS Awards, 45 CFR 75, can be found at: https://www.ecfr.gov/cgi-bin/text-
idx?node=pt45.1.75
 3. Reporting
Reporting provides continuous program monitoring and identifies successes and challenges
that recipients encounter throughout the project period. Also, reporting is a requirement
for recipients who want to apply for yearly continuation of funding. Reporting helps CDC and
recipients because it:
       Helps target support to recipients;
       Provides CDC with periodic data to monitor recipient progress toward meeting the Notice
        of Funding Opportunity outcomes and overall performance;
       Allows CDC to track performance measures and evaluation findings for continuous
        quality and program improvement throughout the period of performance and to determine
        applicability of evidence-based approaches to different populations, settings, and
        contexts; and
       Enables CDC to assess the overall effectiveness and influence of the NOFO.
The table below summarizes required and optional reports. All required reports must be sent
electronically to GMS listed in the “Agency Contacts” section of the NOFO copying the CDC
Project Officer.
Report                                        When?                                   Required?
Recipient Evaluation and Performance
Measurement Plan, including Data              6 months into award                     Yes
Management Plan (DMP)
                                              No later than 120 days before end of
Annual Performance Report (APR)               budget period. Serves as yearly         Yes
                                              continuation application.
Data on Performance Measures                  Semi-annually                           Yes
                                       90 days after the end of the budget
Federal Financial Reporting Forms                                                     Yes
                                       period.
                                       90 days after end of period of
Final Performance and Financial Report performance.                                   Yes



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Payment Management System (PMS)              Quarterly reports due January 30;
                                                                                      Yes
Reporting                                    April 30; July 30; and October 30.


a. Recipient Evaluation and Performance Measurement Plan (required)
With support from CDC, recipients must elaborate on their initial applicant evaluation and
performance measurement plan. This plan must be no more than 20 pages; recipients must
submit the plan 6 months into the award. HHS/CDC will review and approve the recipient’s
monitoring and evaluation plan to ensure that it is appropriate for the activities to be undertaken
as part of the agreement, for compliance with the monitoring and evaluation guidance established
by HHS/CDC, or other guidance otherwise applicable to this Agreement.
Recipient Evaluation and Performance Measurement Plan (required): This plan should provide
additional detail on the following:
Performance Measurement
• Performance measures and targets
• The frequency that performance data are to be collected.
• How performance data will be reported.
• How quality of performance data will be assured.
• How performance measurement will yield findings to demonstrate progress towards
achieving NOFO goals (e.g., reaching target populations or achieving expected outcomes).
• Dissemination channels and audiences.
• Other information requested as determined by the CDC program.
Evaluation
• The types of evaluations to be conducted (e.g. process or outcome evaluations).
• The frequency that evaluations will be conducted.
• How evaluation reports will be published on a publically available website.
• How evaluation findings will be used to ensure continuous quality and program improvement.
• How evaluation will yield findings to demonstrate the value of the NOFO (e.g., effect on
improving public health outcomes, effectiveness of NOFO, cost-effectiveness or cost-benefit).
• Dissemination channels and audiences.
HHS/CDC or its designee will also undertake monitoring and evaluation of the defined activities
within the agreement. The recipient must ensure reasonable access by HHS/CDC or its designee
to all necessary sites, documentation, individuals and information to monitor, evaluate and verify
the appropriate implementation the activities and use of HHS/CDC funding under this
Agreement.
b. Annual Performance Report (APR) (required)


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The recipient must submit the APR via www.Grantsolutions.gov no later than120 days prior to
the end of the budget period. This report must not exceed 45 pages excluding administrative
reporting. Attachments are not allowed, but web links are allowed.
This report must include the following:
       Performance Measures: Recipients must report on performance measures for each
        budget period and update measures, if needed.
       Evaluation Results: Recipients must report evaluation results for the work completed to
        date (including findings from process or outcome evaluations).
       Work Plan: Recipients must update work plan each budget period to reflect any changes
        in period of performance outcomes, activities, timeline, etc.
       Successes
           o Recipients must report progress on completing activities and progress towards
             achieving the period of performance outcomes described in the logic model and
             work plan.
           o Recipients must describe any additional successes (e.g. identified through
             evaluation results or lessons learned) achieved in the past year.
           o Recipients must describe success stories.
       Challenges
           o Recipients must describe any challenges that hindered or might hinder their
             ability to complete the work plan activities and achieve the period of performance
             outcomes.
           o Recipients must describe any additional challenges (e.g., identified through
             evaluation results or lessons learned) encountered in the past year.
       CDC Program Support to Recipients
           o Recipients must describe how CDC could help them overcome challenges to
             complete activities in the work plan and achieving period of performance
             outcomes.
       Administrative Reporting (No page limit)
           o SF-424A Budget Information-Non-Construction Programs.
           o Budget Narrative – Must use the format outlined in "Content and Form of
             Application Submission, Budget Narrative" section.
           o Indirect Cost Rate Agreement.

The recipient must submit the Annual Performance Report via https://www.grantsolutions.gov
120 days prior to the end of the budget period.
c. Performance Measure Reporting (optional)

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CDC programs may require more frequent reporting of performance measures than annually in
the APR. If this is the case, CDC programs must specify reporting frequency, data fields, and
format for recipients at the beginning of the award period.
Performance measures should be reported semi-annually. CDC and the Evaluation/TA partners
will specify data fields and format at the beginning of the award period.
d. Federal Financial Reporting (FFR) (required)
The annual FFR form (SF-425) is required and must be submitted 90 days after the end of the
budget period through the Payment Management System (PMS). The report must include only
those funds authorized and disbursed during the timeframe covered by the report. The final FFR
must indicate the exact balance of unobligated funds, and may not reflect any unliquidated
obligations. There must be no discrepancies between the final FFR expenditure data and the
Payment Management System’s (PMS) cash transaction data. Failure to submit the required
information by the due date may adversely affect the future funding of the project. If the
information cannot be provided by the due date, recipients are required to submit a letter of
explanation to OGS and include the date by which the Grants Officer will receive information.
e. Final Performance and Financial Report (required)
The Final Performance Report is due 90 days after the end of the period of performance. The
Final FFR is due 90 days after the end of the period of performance and must be submitted
through the Payment Management System (PMS). CDC programs must indicate that this report
should not exceed 40 pages. This report covers the entire period of performance and can include
information previously reported in APRs. At a minimum, this report must include the following:
              Performance Measures – Recipients must report final performance data for all
               process and outcome performance measures.
              Evaluation Results – Recipients must report final evaluation results for the period
               of performance for any evaluations conducted.
              Impact/Results/Success Stories – Recipients must use their performance measure
               results and their evaluation findings to describe the effects or results of the work
               completed over the period of performance, and can include some success stories.
              A final Data Management Plan that includes the location of the data collected
               during the funded period, for example, repository name and link data set(s)
              Additional forms as described in the Notice of Award (e.g., Equipment Inventory
               Report, Final Invention Statement).
No additional information is required, other than what is listed above.
4. Federal Funding Accountability and Transparency Act of 2006 (FFATA)
Federal Funding Accountability and Transparency Act of 2006 (FFATA), P.L. 109–282, as
amended by section 6202 of P.L. 110–252 requires full disclosure of all entities and
organizations receiving Federal funds including awards, contracts, loans, other assistance, and
payments through a single publicly accessible Web site, http://www.USASpending.gov.
Compliance with this law is primarily the responsibility of the Federal agency. However, two
elements of the law require information to be collected and reported by applicants: 1)
information on executive compensation when not already reported through the SAM, and 2)
similar information on all sub-awards/subcontracts/consortiums over $25,000.

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For the full text of the requirements under the FFATA and HHS guidelines, go to:
       https://www.gpo.gov/fdsys/pkg/PLAW-109publ282/pdf/PLAW-109publ282.pdf,
       https://www. fsrs.gov/documents /ffata_legislation_ 110_252.pdf
       http://www.hhs.gov/grants/grants/grants-policies-regulations/index.html#FFATA.
5. Reporting of Foreign Taxes (International/Foreign projects only)
A. Valued Added Tax (VAT) and Customs Duties – Customs and import duties, consular fees,
customs surtax, valued added taxes, and other related charges are hereby authorized as an
allowable cost for costs incurred for non-host governmental entities operating where no
applicable tax exemption exists. This waiver does not apply to countries where a bilateral
agreement (or similar legal document) is already in place providing applicable tax exemptions
and it is not applicable to Ministries of Health. Successful applicants will receive information on
VAT requirements via their Notice of Award.

B. The U.S. Department of State requires that agencies collect and report information on the
amount of taxes assessed, reimbursed and not reimbursed by a foreign government against
commodities financed with funds appropriated by the U.S. Department of State, Foreign
Operations and Related Programs Appropriations Act (SFOAA) (“United States foreign
assistance funds”). Outlined below are the specifics of this requirement:

1) Annual Report: The recipient must submit a report on or before November 16 for each foreign
country on the amount of foreign taxes charged, as of September 30 of the same year, by a
foreign government on commodity purchase transactions valued at 500 USD or more financed
with United States foreign assistance funds under this grant during the prior United States fiscal
year (October 1 – September 30), and the amount reimbursed and unreimbursed by the foreign
government. [Reports are required even if the recipient did not pay any taxes during the reporting
period.]

2) Quarterly Report: The recipient must quarterly submit a report on the amount of foreign taxes
charged by a foreign government on commodity purchase transactions valued at 500 USD or
more financed with United States foreign assistance funds under this grant. This report shall be
submitted no later than two weeks following the end of each quarter: April 15, July 15, October
15 and January 15.

3) Terms: For purposes of this clause:
“Commodity” means any material, article, supplies, goods, or equipment;
“Foreign government” includes any foreign government entity;
“Foreign taxes” means value-added taxes and custom duties assessed by a foreign government
on a commodity. It does not include foreign sales taxes.

4) Where: Submit the reports to the Director and Deputy Director of the CDC office in the
country(ies) in which you are carrying out the activities associated with this cooperative
agreement. In countries where there is no CDC office, send reports to VATreporting@cdc.gov.

5) Contents of Reports: The reports must contain:

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a. recipient name;
b. contact name with phone, fax, and e-mail;
c. agreement number(s) if reporting by agreement(s);
d. reporting period;
e. amount of foreign taxes assessed by each foreign government;
f. amount of any foreign taxes reimbursed by each foreign government;
g. amount of foreign taxes unreimbursed by each foreign government.

6) Subagreements. The recipient must include this reporting requirement in all applicable
subgrants and other subagreements.




6. Termination
CDC may impose other enforcement actions in accordance with 45 CFR 75.371- Remedies for
Noncompliance, as appropriate.
The Federal award may be terminated in whole or in part as follows:
(1) By the HHS awarding agency or pass-through entity, if the non-Federal entity fails to comply
with the terms and conditions of the award;
(2) By the HHS awarding agency or pass-through entity for cause;
(3) By the HHS awarding agency or pass-through entity with the consent of the non-Federal
entity, in which case the two parties must agree upon the termination conditions, including the
effective date and, in the case of partial termination, the portion to be terminated; or
(4) By the non-Federal entity upon sending to the HHS awarding agency or pass-through entity
written notification setting forth the reasons for such termination, the effective date, and, in the
case of partial termination, the portion to be terminated. However, if the HHS awarding agency
or pass-through entity determines in the case of partial termination that the reduced or modified
portion of the Federal award or subaward will not accomplish the purposes for which the Federal
award was made, the HHS awarding agency or pass-through entity may terminate the Federal
award in its entirety.
G. Agency Contacts
CDC encourages inquiries concerning this NOFO.
Program Office Contact
For programmatic technical assistance, contact:
First Name:
Stacy
Last Name:
De Jesus
Project Officer

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Department of Health and Human Services
Centers for Disease Control and Prevention
Address:
Telephone:
Email:
NCCDPHP_CHW@cdc.gov
Grants Management Office Information
For financial, awards management, or budget assistance, contact:
First Name:
Rhonda
Last Name:
Latimer
Grants Management Specialist
Department of Health and Human Services
Office of Grants Services
Address:
2939 Flowers Rd.
South KOGR Bldg, VANDE Rm 211, MS TV-2
Atlanta, GA 30341
Telephone:
Email:
ito1@cdc.gov
For assistance with submission difficulties related to www.grants.gov, contact the Contact
Center by phone at 1-800-518-4726.

Hours of Operation: 24 hours a day, 7 days a week, except on federal holidays.

CDC Telecommunications for persons with hearing loss is available at: TTY 1-888-232-6348
H. Other Information
Following is a list of acceptable attachments applicants can upload as PDF files as part of their
application at www.grants.gov. Applicants may not attach documents other than those listed; if
other documents are attached, applications will not be reviewed.
       Project Abstract
       Project Narrative
       Budget Narrative
       Report on Programmatic, Budgetary and Commitment Overlap
       Table of Contents for Entire Submission
For international NOFOs:


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       SF424
       SF424A
       Funding Preference Deliverables
Optional attachments, as determined by CDC programs:
Memorandum of Agreement (MOA)
Memorandum of Understanding (MOU)
Bona Fide Agent status documentation, if applicable
Indirect Cost Rate, if applicable
Position descriptions
Letters of Support
Required Attachments:
       Resumes/CVs
       Letters of Support
       Staffing plan, can include position descriptions
Other Optional attachments
       County agreement letter
I. Glossary
Activities: The actual events or actions that take place as a part of the program.
Administrative and National Policy Requirements, Additional Requirements(ARs):
Administrative requirements found in 45 CFR Part 75 and other requirements mandated by
statute or CDC policy. All ARs are listed in the Template for CDC programs. CDC programs
must indicate which ARs are relevant to the NOFO; recipients must comply with the ARs listed
in the NOFO. To view brief descriptions of relevant provisions, see http:// www.cdc.gov/ grants/
additional requirements/ index.html. Note that 2 CFR 200 supersedes the administrative
requirements (A-110 & A-102), cost principles (A-21, A-87 & A-122) and audit requirements
(A-50, A-89 & A-133).
Approved but Unfunded: Approved but unfunded refers to applications recommended for
approval during the objective review process; however, they were not recommended for funding
by the program office and/or the grants management office.
Assistance Listings: A government-wide compendium published by the General Services
Administration (available on-line in searchable format as well as in printable format as a .pdf
file) that describes domestic assistance programs administered by the Federal Government.
Assistance Listings Number: A unique number assigned to each program and NOFO
throughout its lifecycle that enables data and funding tracking and transparency.




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Award: Financial assistance that provides support or stimulation to accomplish a public purpose.
Awards include grants and other agreements (e.g., cooperative agreements) in the form of
money, or property in lieu of money, by the federal government to an eligible applicant.
Budget Period or Budget Year: The duration of each individual funding period within the
period of performance. Traditionally, budget periods are 12 months or 1 year.
Carryover: Unobligated federal funds remaining at the end of any budget period that, with the
approval of the GMO or under an automatic authority, may be carried over to another budget
period to cover allowable costs of that budget period either as an offset or additional
authorization. Obligated but liquidated funds are not considered carryover.
Continuous Quality Improvement: A system that seeks to improve the provision of services
with an emphasis on future results.
Contracts: An award instrument used to acquire (by purchase, lease, or barter) property or
services for the direct benefit or use of the Federal Government.
Cooperative Agreement: A financial assistance award with the same kind of interagency
relationship as a grant except that it provides for substantial involvement by the federal agency
funding the award. Substantial involvement means that the recipient can expect federal
programmatic collaboration or participation in carrying out the effort under the award.
Cost Sharing or Matching: Refers to program costs not borne by the Federal Government but
by the recipients. It may include the value of allowable third-party, in-kind contributions, as well
as expenditures by the recipient.
Direct Assistance: A financial assistance mechanism, which must be specifically authorized by
statute, whereby goods or services are provided to recipients in lieu of cash. DA generally
involves the assignment of federal personnel or the provision of equipment or supplies, such as
vaccines. DA is primarily used to support payroll and travel expenses of CDC employees
assigned to state, tribal, local, and territorial (STLT) health agencies that are recipients of grants
and cooperative agreements. Most legislative authorities that provide financial assistance to
STLT health agencies allow for the use of DA. http:// www.cdc.gov
/grants/additionalrequirements /index.html.
DUNS: The Dun and Bradstreet (D&B) Data Universal Numbering System (DUNS) number is a
nine-digit number assigned by Dun and Bradstreet Information Services. When applying for
Federal awards or cooperative agreements, all applicant organizations must obtain a DUNS
number as the Universal Identifier. DUNS number assignment is free. If requested by telephone,
a DUNS number will be provided immediately at no charge. If requested via the Internet,
obtaining a DUNS number may take one to two days at no charge. If an organization does not
know its DUNS number or needs to register for one, visit Dun & Bradstreet at
http://fedgov.dnb.com/ webform/displayHomePage.do.
Evaluation (program evaluation): The systematic collection of information about the activities,
characteristics, and outcomes of programs (which may include interventions, policies, and
specific projects) to make judgments about that program, improve program effectiveness, and/or
inform decisions about future program development.



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Evaluation Plan: A written document describing the overall approach that will be used to guide
an evaluation, including why the evaluation is being conducted, how the findings will likely be
used, and the design and data collection sources and methods. The plan specifies what will be
done, how it will be done, who will do it, and when it will be done. The NOFO evaluation plan is
used to describe how the recipient and/or CDC will determine whether activities are
implemented appropriately and outcomes are achieved.
Federal Funding Accountability and Transparency Act of 2006 (FFATA): Requires that
information about federal awards, including awards, contracts, loans, and other assistance and
payments, be available to the public on a single website at www.USAspending.gov.
Fiscal Year: The year for which budget dollars are allocated annually. The federal fiscal year
starts October 1 and ends September 30.
Grant: A legal instrument used by the federal government to transfer anything of value to a
recipient for public support or stimulation authorized by statute. Financial assistance may be
money or property. The definition does not include a federal procurement subject to the Federal
Acquisition Regulation; technical assistance (which provides services instead of money); or
assistance in the form of revenue sharing, loans, loan guarantees, interest subsidies, insurance, or
direct payments of any kind to a person or persons. The main difference between a grant and a
cooperative agreement is that in a grant there is no anticipated substantial programmatic
involvement by the federal government under the award.
Grants.gov: A "storefront" web portal for electronic data collection (forms and reports) for
federal grant-making agencies at www.grants.gov.
Grants Management Officer (GMO): The individual designated to serve as the HHS official
responsible for the business management aspects of a particular grant(s) or
cooperative agreement(s). The GMO serves as the counterpart to the business officer of the
recipient organization. In this capacity, the GMO is responsible for all business management
matters associated with the review, negotiation, award, and administration of grants and
interprets grants administration policies and provisions. The GMO works closely with the
program or project officer who is responsible for the scientific, technical, and programmatic
aspects of the grant.
Grants Management Specialist (GMS): A federal staff member who oversees the business and
other non-programmatic aspects of one or more grants and/or cooperative agreements. These
activities include, but are not limited to, evaluating grant applications for administrative content
and compliance with regulations and guidelines, negotiating grants, providing consultation and
technical assistance to recipients, post-award administration and closing out grants.
Health Disparities: Differences in health outcomes and their determinants among segments of
the population as defined by social, demographic, environmental, or geographic category.
Health Equity: Striving for the highest possible standard of health for all people and giving
special attention to the needs of those at greatest risk of poor health, based on social conditions.
Health Inequities: Systematic, unfair, and avoidable differences in health outcomes and their
determinants between segments of the population, such as by socioeconomic status (SES),
demographics, or geography.



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Healthy People 2030: National health objectives aimed at improving the health of all Americans
by encouraging collaboration across sectors, guiding people toward making informed health
decisions, and measuring the effects of prevention activities.
Inclusion: Both the meaningful involvement of a community’s members in all stages of the
program process and the maximum involvement of the target population that the intervention
will benefit. Inclusion ensures that the views, perspectives, and needs of affected communities,
care providers, and key partners are considered.
Indirect Costs: Costs that are incurred for common or joint objectives and not readily and
specifically identifiable with a particular sponsored project, program, or activity; nevertheless,
these costs are necessary to the operations of the organization. For example, the costs of
operating and maintaining facilities, depreciation, and administrative salaries generally are
considered indirect costs.
Letter of Intent (LOI): A preliminary, non-binding indication of an organization’s intent to
submit an application.
Lobbying: Direct lobbying includes any attempt to influence legislation, appropriations,
regulations, administrative actions, executive orders (legislation or other orders), or other similar
deliberations at any level of government through communication that directly expresses a view
on proposed or pending legislation or other orders, and which is directed to staff members or
other employees of a legislative body, government officials, or employees who participate in
formulating legislation or other orders. Grass roots lobbying includes efforts directed at inducing
or encouraging members of the public to contact their elected representatives at the federal, state,
or local levels to urge support of, or opposition to, proposed or pending legislative proposals.
Logic Model: A visual representation showing the sequence of related events connecting the
activities of a program with the programs’ desired outcomes and results.
Maintenance of Effort: A requirement contained in authorizing legislation, or applicable
regulations that a recipient must agree to contribute and maintain a specified level of financial
effort from its own resources or other non-government sources to be eligible to receive federal
grant funds. This requirement is typically given in terms of meeting a previous base-year dollar
amount. Memorandum of Understanding (MOU) or Memorandum of Agreement(MOA):
Document that describes a bilateral or multilateral agreement between parties expressing a
convergence of will between the parties, indicating an intended common line of action. It is often
used in cases where the parties either do not imply a legal commitment or cannot create a legally
enforceable agreement.
Nonprofit Organization: Any corporation, trust, association, cooperative, or other organization
that is operated primarily for scientific, educational, service, charitable, or similar purposes in the
public interest; is not organized for profit; and uses net proceeds to maintain, improve, or expand
the operations of the organization. Nonprofit organizations include institutions of higher
educations, hospitals, and tribal organizations (that is, Indian entities other than federally
recognized Indian tribal governments).
Notice of Award (NoA): The official document, signed (or the electronic equivalent of
signature) by a Grants Management Officer that: (1) notifies the recipient of the award of a grant;
(2) contains or references all the terms and conditions of the grant and Federal funding limits and

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obligations; and (3) provides the documentary basis for recording the obligation of Federal funds
in the HHS accounting system.
Objective Review: A process that involves the thorough and consistent examination of
applications based on an unbiased evaluation of scientific or technical merit or other relevant
aspects of the proposal. The review is intended to provide advice to the persons responsible for
making award decisions.
Outcome: The results of program operations or activities; the effects triggered by the program.
For example, increased knowledge, changed attitudes or beliefs, reduced tobacco use, reduced
morbidity and mortality.
Performance Measurement: The ongoing monitoring and reporting of program
accomplishments, particularly progress toward pre-established goals, typically conducted by
program or agency management. Performance measurement may address the type or level of
program activities conducted (process), the direct products and services delivered by a program
(outputs), or the results of those products and services (outcomes). A “program” may be any
activity, project, function, or policy that has an identifiable purpose or set of objectives.
Period of performance –formerly known as the project period - : The time during which the
recipient may incur obligations to carry out the work authorized under the Federal award. The
start and end dates of the period of performance must be included in the Federal award.
Period of Performance Outcome: An outcome that will occur by the end of the NOFO’s
funding period
Plain Writing Act of 2010: The Plain Writing Act of 2010 requires that federal agencies use
clear communication that the public can understand and use. NOFOs must be written in clear,
consistent language so that any reader can understand expectations and intended outcomes of the
funded program. CDC programs should use NOFO plain writing tips when writing
NOFOs. Program Strategies: Strategies are groupings of related activities, usually expressed as
general headers (e.g., Partnerships, Assessment, Policy) or as brief statements (e.g., Form
partnerships, Conduct assessments, Formulate policies).
Program Official: Person responsible for developing the NOFO; can be either a project officer,
program manager, branch chief, division leader, policy official, center leader, or similar staff
member.
Public Health Accreditation Board (PHAB): A nonprofit organization that works to promote
and protect the health of the public by advancing the quality and performance of public health
departments in the U.S. through national public health department accreditation
http://www.phaboard.org.
Social Determinants of Health: Conditions in the environments in which people are born, live,
learn, work, play, worship, and age that affect a wide range of health, functioning, and quality-
of-life outcomes and risks.
Statute: An act of the legislature; a particular law enacted and established by the will of the
legislative department of government, expressed with the requisite formalities. In foreign or civil
law any particular municipal law or usage, though resting for its authority on judicial decisions,
or the practice of nations.

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Statutory Authority: Authority provided by legal statute that establishes a federal financial
assistance program or award.
System for Award Management (SAM): The primary vendor database for the U.S. federal
government. SAM validates applicant information and electronically shares secure and encrypted
data with federal agencies' finance offices to facilitate paperless payments through Electronic
Funds Transfer (EFT). SAM stores organizational information, allowing www.grants.gov to
verify identity and pre-fill organizational information on grant applications.
Technical Assistance: Advice, assistance, or training pertaining to program development,
implementation, maintenance, or evaluation that is provided by the funding agency.
Work Plan: The summary of period of performance outcomes, strategies and activities,
personnel and/or partners who will complete the activities, and the timeline for completion. The
work plan will outline the details of all necessary activities that will be supported through the
approved budget.
Community Health Worker - A community health worker is a frontline public health worker
who is a trusted member of and/or has an unusually close understanding of the community
served. This trusting relationship enables the worker to serve as a liaison/link/intermediary
between health/social services and the community to facilitate access to services and improve the
quality and cultural competence of service delivery. [accessed from www.apha.org 12/14/2020]
Bona Fide Agent - a bona fide agent is an agency/organization identified as eligible to submit
an application in lieu of a state application. If applying as a bona fide agent, a legal, binding
agreement from the state, tribal, territorial, or local government as documentation of the status is
required. Attach with “Other Attachment Forms” when submitting via grants.gov.
Innovation - Novel combinations or uses of preexisting efforts [programs, tools, ideas, etc.] to
enable or enhance the solution to a need

HHS Regions - The Department of Health and Human Services Office of Intergovernmental and
External Affairs hosts 10 Regional Offices in various cities across the United States. These
offices each oversee a geographic area, or region, across multiple states and are maintained to
ensure that the Department is able to remain in close contact with state, local, or tribal partners
and to ensure HHS programs and policies address the needs of individuals and communities
across the country. For details on each region or Regional Office, visit Regional Offices |
HHS.gov

References/Resources
   1. Centers for Disease Control and Prevention (2019). CHW Forum: Community Health
      Worker Forum: Engaging Community Health Workers in the Development of a
      Statewide Infrastructure for Sustainability.
      Retrieved fromhttps://www.cdc.gov/diabetes/programs/stateandlocal/resources/chw-
      forum.html
   2. Department of Health and Human Services (HHS, 2020. Healthy People 2030.
      Emergency Preparedness. Retrieved from https://health.gov/healthypeople/objectives-
      and-data/browse-objectives/emergency-preparedness

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    Datasets Addressing Health Disparities
4. HRSA 2019-2020 Health Equity Report: Special Feature on Housing and Health
    Inequalities. Retrieved from https://www.hrsa.gov/sites/default/files/hrsa/health-
    equity/HRSA-health-equity-report.pdf
5. National Stakeholder Strategy for Achieving Health Equity. Retrieved
    from https://sph.umd.edu/sites/default/files/files/NSS_Summary0405_1_.pdf
6. National Association of Community Health Workers (2020). See New report on
    sustainable financing for CHWs.
7. World Health Organization (2018). WHO launches new guideline on health policy and
    system support to optimize community health worker programmes. Retrieved
    from https://www.who.int/hrh/community/guideline-health-support-optimize-hw-
    programmes/en/
8. Centers for Disease Control and Prevention (2020). Resources for Community Health
    Workers, Community Health Representatives and Promotores de la Salud. Retrieved
    from Resources for Community Health Workers, Community Health Representatives,
    and Promotores de la Salud | CDC.
9. NCCDPHP Success Stories Application: This online application provides a step-by-step
    template for awardees as they develop their success stories. Awardees can use the
    application to create stories for their own needs or choose to submit the story to CDC for
    consideration in the online library. https://nccd.cdc.gov/NCCDSuccessStories/
10. The application is supported by the Success Stories Development Guide. This Word
    document guides users through the sections of the NCCDPHP Success Stories application
    and helps them prepare a story for
    submission: https://nccd.cdc.gov/NCCDSuccessStories/pdfs/Success_Stories_Developme
    nt_Guide.docx
11. Centers for Disease Control and Prevention (2020), National Center for Health Statistics.
    Health Disparities: Race and Hispanic Origin. Retrieved from COVID-19 Provisional
    Counts - Health Disparities (cdc.gov).
12. People at Increased Risk and Other People Who Need to Take Extra Precautions: Do I
    need to Take Extra Precautions Against COVID-19 | CDC




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&!)%&"$)5&PQ,;RO$"SQ6KS26B
 DTUVWTXEE2YG#"4'#&)4'"#&!%$5&)#I'#&"@5)
!;&'#&9-"&#"+J@-;-M6A"$%#&#%%=""(#44#&)4'"!44(#&9B
        Z8"$"%&"!9 %$'"($'"$)#>%&"!#9#&$44+"$"'$#% 6B
        Z0)#5&!4"J#5>&9$5>M)&#''#9&#I)$&"6B
        Z[#"!*4#)$5&45&9!%"\)"=(#"4$&=#!$&+=!!"*4#)$5&6B
B
 D]DVD2YG^ 2_4`abcd;;R4'&4+#&)4'"!&'$"#e'$&'
f&'''#&9"5%!$%)>'*+""6I&$4"%"#&'#)$""f$)"*$4$&)
!&*4#9$"'!&'$&'%$+&"g)"$&+&4#H#'$"'*4#9$5&684'"$%&"&"%$")
(#""I&$4f&'#""'""O$+%&"h$&$9%&"8+"%JOh8M=+(#44*H#'"
'$"+""Oh8$))'#&94+6B
1iFYG]4FYYDE`0XjDTEDTYGk2YG^4`abldA)%4"'8;1Pmn'"$#4#&9$44
%$\H#%&"$)H#'(#"$&#"$)H##5&)"!o2L=LLL%6/!&H#%&"($
$)H#'&'"$($'=$&9$5>"#H#'B
